Case 3:23-cv-00175-DEW-KDM       Document 58-1   Filed 01/13/25   Page 1 of 49 PageID
                                      #: 1330



                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION


 MAYA DETIEGE and DAYNE SHERMAN,                   CIVIL ACTION NO.: 3:23-cv-175

                          Plaintiffs

             v.                                    JUDGE WALTER
                     s
 KATRINA JACKSON, in her official and              MAGISTRATE JUDGE
 individual capacities,                            MCCLUSKY

                          Defendant.




     PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY
                           JUDGMENT




                                         1
Case 3:23-cv-00175-DEW-KDM                                   Document 58-1                  Filed 01/13/25               Page 2 of 49 PageID
                                                                  #: 1331



                                                              I.         Table of Contents

 I.              Table of Contents ................................................................................................................ 2


 II.             Table of Authorities............................................................................................................. 3


 III.            Introduction ......................................................................................................................... 5


 IV.             Factual Background ............................................................................................................ 5


 V.              Summary of the Argument ................................................................................................ 13


 VI.             Law and Argument ............................................................................................................ 14

       A.        Summary judgment standard ............................................................................................ 14
       B. Defendant Jackson’s Blocking of Plaintiffs on Twitter Violated Plaintiffs’ First
       Amendment Rights ................................................................................................................... 15
         1. Plaintiffs’ speech was protected by the First Amendment ............................................ 15
         2. Defendant Jackson’s Twitter Page is a Designated Public Forum ................................ 18
         3. Defendant Jackson Engaged in Impermissible Viewpoint Discrimination in Blocking
         Plaintiffs. ............................................................................................................................... 23
       C.     Jackson was acting under color of law in blocking Plaintiffs ........................................... 29
            1.  Defendant Jackson possessed actual authority to speak on behalf of the state ............. 31
                a. Jackson’s role as a state legislator is to make laws and set policy for the State of
                Louisiana ....................................................................................................................... 32
                b. Communicating to and with the public on policy matters is within the scope of
                Defendant Jackson’s job ............................................................................................... 35
            2. Defendant Jackson purports to exercise her authority on social media ........................ 39
                a. The context of Defendant Jackson’s Twitter page shows that she was using it in her
                official capacity ............................................................................................................. 40
                b. The appearance and function of Defendant Jackson’s Twitter page show that she
                uses it in her official capacity. ....................................................................................... 43
                c. Senator Jackson’s use of government resources to Tweet show she uses the
                account in her official capacity. .................................................................................... 45
                d. The nature of Twitter cements state action in this case ......................................... 46

 VII.            Conclusion ........................................................................................................................ 48




                                                                              2
Case 3:23-cv-00175-DEW-KDM                                Document 58-1                   Filed 01/13/25                Page 3 of 49 PageID
                                                               #: 1332



                                                         II.         Table of Authorities
 Cases
 303 Creative LLC v. Elenis, 600 U.S. 570 (2023) ........................................................................ 16
 Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970) ...................................................................... 31
 Attwood v. Clemons, 526 F. Supp. 3d 1152 (N.D. Fla. 2021) ...................................................... 25
 Boos v. Barry, 485 U.S. 312 (1988) ............................................................................................. 17
 Chiu v. Plano Indep. Sch. Dist., 260 F.3d 330 (5th Cir. 2001)................................................ 18, 20
 Clark v. Kolkhorst, No. 1:19-CV-198-LY, 2021 WL 5783210 (W.D. Tex. Dec. 7, 2021) ............ 29
 Connick v. Myers, 461 U.S. 138 (1983) ....................................................................................... 18
 Cornelius v. NAACP Legal Def. & Educ. Fund, 473 U.S. 788 (1985) .................................. 15, 18
 Cox v. Louisiana, 379 U.S. 536 (1965)......................................................................................... 16
 Czosnyka v. Gardiner, No. 21-cv-3240, 2022 WL 407651 (N.D. Ill. Feb. 10, 2022)................... 19
 Davison v. Randall, 912 F.3d 666 (4th Cir. 2019) ........................................................................ 22
 Dobbs v. Jackson Women's Health Org., 597 U.S. 215 (2022)....................................................... 9
 Evans v. Herman, No. 4:22-CV-2508, 2023 WL 4188347 (S.D. Tex. Apr. 24, 2023), report and
   recommendation adopted, No. 4:22-CV-02508, 2023 WL 4188466 (S.D. Tex. June 26, 2023)
   ................................................................................................................................................... 29
 Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747 (5th Cir. 2010) ...................................... 18, 20
 Felts v. Reed, 504 F. Supp. 3d 978 (E.D. Mo. 2020) .................................................................... 19
 Garnier v. O’Connor-Ratcliff, 41 F. 4th 1158 (9th Cir. 2022) .......................................... 19, 22, 29
 Garrison v. Louisiana, 379 U.S. 64 (1964) ............................................................................. 16, 20
 Knight First Amend. Inst. at Colum. Univ. v. Trump, 953 F.3d 216 (2nd Cir. 2020); vacated as
   moot, Biden v. Knight First Amend. Inst. at Colum. Univ., 141 S.Ct. 1220 (2021) ........... 22, 23
 Knight First Amendment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541 (S.D.N.Y. 2018)
   ................................................................................................................................................... 25
 Lindke v. Freed, 601 U.S. 187 (2024).................................................................................... passim
 Little v. Liquid Air Corp., 37 F.3d 1069 (5th Cir 1994)................................................................ 14
 Freedom Def. Initiative v. King Cnty., 904 F.3d 1126 (9th Cir. 2018) ......................................... 22
 Matal v. Tam, 137 U.S. 1744 (2017) ....................................................................................... 17, 26
 Meyer v. Grant, 486 U.S. 414 (1988) ........................................................................................... 18
 Minnesota Voters All. v. Mansky, 585 U.S. 1 (2018).............................................................. 18, 22
 Narayanan v. Midwestern State Univ., No. 22-11140, 2023 WL 6621676 (5th Cir. Oct. 11, 2023)
   ................................................................................................................................................... 14
 Navarro v. Block, 72 F.3d 712 (9th Cir. 1995).............................................................................. 36
 One Wis. Now v. Kremer, 354 F. Supp. 3d 940 (W.D. Wis. Jan. 18, 2019) ................................. 47
 Packingham v. North Carolina, 582 U.S. 98 (2017) .............................................................. passim
 Robinson v. Hunt Cnty., 921 F.3d 447 (5th Cir. 2019) .......................................................... passim
 Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819 (1995).............................. 16, 23
 Police Dep’t of Chi. v. Mosley, 408 U.S. 92 (1972) ..................................................................... 13
 Price v. City of New York, No. 15 CIV 5871 (KPF), 2018 WL 3117507 (S.D.N.Y. June 25, 2018)
   ................................................................................................................................................... 25
 Sammons v. McCarthy, 606 F. Supp. 3d 165 (D. Md. 2022) ........................................................ 19
 Sgaggio v. De Young, No. 20-cv-01977-PAB-KMT, 2022 WL 970008 (D. Colo. Feb. 1, 2022) 17
 Snyder v. Phelps, 562 U.S 443 (2011) .................................................................................... 16, 26
 United States v. Macdaniel, 32 U.S. 1 (1833) ............................................................................... 32
 West v. Shea, 500 F. Supp. 3d 1079 (C.D. Cal. 2020) .................................................................. 19

                                                                            3
Case 3:23-cv-00175-DEW-KDM                              Document 58-1                 Filed 01/13/25               Page 4 of 49 PageID
                                                             #: 1333



 Williams v. United States, 71 F.3d 502 (5th Cir. 1995) ................................................................ 36
 Statutes
 42 U.S.C.A. § 1983 ....................................................................................................................... 15
 Other Authorities
 About Being Blocked, X HELP CENTER, https://help.twitter.com/en/using-twitter/someone-
   blocked-me-on-twitter#:~:text=About%20being%20blocked,-
   Twitter%20gives%20people&text=If%20you%20have%20been%20blocked,alerting%20you
   %20of%20the%20block ........................................................................................................... 47
 Caroline Forsey, What is Twitter and How Does It Work?, HUBSPOT,
   https://blog.hubspot.com/marketing/what-is-twitter (July 26, 2021) ......................................... 5
 Fabio Duarte, X (Formerly Twitter) User Age, Gender, & Demographic Stats (2024), EXPLODING
   TOPICS (October 8, 2024), https://explodingtopics.com/blog/x-user-stats ................................ 6
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   https://www.thetowntalk.com/story/news/2016/06/10/lalegis-you-can-tweet/85706164/ . 21, 38
 Kat Devlin et al., For Global Legislators on Twitter, an Engaged Minority Creates Outsize Share
   of Content, PEW RESEARCH CENTER (May 18, 2020)
   https://www.pewresearch.org/global/2020/05/18/for-global-legislators-on-twitter-an-engaged-
   minority-creates-outsize-share-of-content/ ............................................................................... 37
 Katrina R. Jackson-Andrews, LOUISIANA STATE SENATE https://senate.la.gov/smembers?ID=34
   [https://perma.cc/4ERN-BXBT] ............................................................................................... 41
 Louisiana State Senate, Legislative Communications Office, Member Services,
   https://lco.legis.la.gov/services ................................................................................................. 45
 Maya Detiege (@midaeros)’s Twitter Profile, X, https://twitter.com/midaeros ............................. 9
 Members’ Official X Handles – 118th Congress, U.S. HOUSE OF REPRESENTATIVES PRESS
   GALLERY, https://pressgallery.house.gov/member-data/members-official-twitter-handles (June
   27, 2024..................................................................................................................................... 38
 SB342 by Senator Katrina Jackson-Andrews, LOUISIANA STATE LEGISLATURE,
   https://legis.la.gov/legis/BillInfo.aspx?i=242567 ..................................................................... 39
 State Senator Katrina R. Jackson Democrat District 34, LA. STATE. SENATE,
   https://senate.la.gov/smembers?ID=34 ....................................................................................... 6
 The Editors of Encyclopaedia Britannica, X, BRITTANICA MONEY,
   https://www.britannica.com/money/Twitter (Jan 3, 2025)...................................................... 5, 6
 The Legislator as Lawmaker—The Interim, LA. H.R. 4,
   https://house.louisiana.gov/OG1620/OG1620docs/D%20-%20The%20Interim.pdf ............... 33
 Treatises
 Louisiana Civil Law Treatise, 20 LACIVL § 2:1 ......................................................................... 32
 Constitutional Provisions
 La. Const. Art. I............................................................................................................................. 35
 La. Const. Art. III, §1 .............................................................................................................. 32, 38
 La. Const. Art. VII ........................................................................................................................ 32
 La. Const. Arts. III §10 ................................................................................................................. 36
 La. Const. Preamble, Ann. Refs & Annos..................................................................................... 35




                                                                         4
Case 3:23-cv-00175-DEW-KDM             Document 58-1         Filed 01/13/25      Page 5 of 49 PageID
                                            #: 1334



                                            III.   Introduction

        Plaintiffs Maya Detiege and Dayne Sherman respectfully submit this Memorandum in

 Support of their Motion for Summary Judgment pursuant to Federal Rule of Civil Procedure 56.

 Defendant Katrina Jackson, a Louisiana State Senator, engaged in impermissible viewpoint and

 content-based discrimination against Plaintiffs’ protected speech on Jackson’s public Twitter

 page. Plaintiffs are both concerned citizens who, like Defendant Jackson, often engage in

 political discussions on Twitter. Defendant Jackson blocked Plaintiffs after they expressed

 criticism of legislation that she sponsored and her political positions. Plaintiffs’ criticism of

 Defendant Jackson and her politics is core political speech clearly protected by the First

 Amendment. Defendant Jackson blocked Plaintiffs because she disagreed with the viewpoint of

 their speech, a clear violation of their First Amendment rights. There is no genuine dispute as to

 any material fact regarding this claim, and Plaintiffs are entitled to a judgment as a matter of law.

 For the reasons set forth herein, this Court should grant summary judgment in favor of Plaintiffs.


                                      IV.      Factual Background

        The social media site “X,” formerly known as Twitter, is a popular online social media

 platform on which users are able to quickly share their thoughts with large audiences, using short

 messages containing 280 characters or less.1 The purpose of the platform is to allow the rapid

 spread of information between users across the globe.2 The website is a valuable information

 hub, allowing users instant access to geopolitical developments and cultural happenings,




 1
   The Editors of Encyclopaedia Britannica, X, BRITTANICA MONEY,
 https://www.britannica.com/money/Twitter (Jan 3, 2025); Caroline Forsey, What is Twitter and How Does
 It Work?, HUBSPOT, https://blog.hubspot.com/marketing/what-is-twitter (July 26, 2021).
 2
   The Editors of Encyclopaedia Britannica, supra note 1; Forsey, supra note 1.
                                                   5
Case 3:23-cv-00175-DEW-KDM             Document 58-1        Filed 01/13/25      Page 6 of 49 PageID
                                            #: 1335



 cementing the platform as a breaking news source.3 The United States alone sports nearly 100

 million users.4 Because of its widespread usage and communicative utility, the Supreme Court

 has called social media and Twitter “the modern public square”5 and noted that Twitter

 specifically can be used by citizens to “petition their elected representatives and

 otherwise engage with them in a direct manner” and thereby "provide perhaps the most powerful

 mechanisms available to a private citizen to make his or her voice heard."6

         Defendant State Senator Katrina Jackson is an elected official from Monroe, Louisiana.7

 Jackson is a licensed attorney who currently serves as a Louisiana state senator for the

 Democratic Party.8 She has served as a Louisiana state senator since 2019 and is elected by

 Louisiana’s Senate District 34.9 Prior to her time as a state senator, Senator Jackson was a

 member of the Louisiana House of Representatives.10

        Defendant Senator Katrina Jackson began using Twitter in March of 2012, shortly after

 she was elected a state representative.11 Her very first tweet on March 9, 2012 states, “On

 Monday at 12:00 Noon we will begin Legislative Session. Our office will update you daily.”12

 Her original Twitter username on the platform was @RepKJackson.13 Over the last twelve years




 3
   The Editors of Encyclopaedia Britannica, supra note 1.
 4
   Fabio Duarte, X (Formerly Twitter) User Age, Gender, & Demographic Stats (2024), EXPLODING
 TOPICS (October 8, 2024), https://explodingtopics.com/blog/x-user-stats.
 5
   Packingham v. North Carolina, 582 U.S. 98, 107 (2017).
 6
   Id. at 104-05, 107.
 7
   State Senator Katrina R. Jackson Democrat District 34, LA. STATE. SENATE,
 https://senate.la.gov/smembers?ID=34 (last visited January 4, 2025).
 8
    Senator Katrina R. Jackson: District 34, LOUISIANA STATE SENATE,
 https://senate.la.gov/Senators/Bios/district34.pdf (last visited Jan 4, 2025).
 9
   Id.
 10
    Id.
 11
    Ex. 1, at 3 (Bogen report).
 12
    Ex. 2 (announcing start of session and upcoming public updates).
 13
    Ex. 1, at 4 (Bogen report).
                                                   6
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25      Page 7 of 49 PageID
                                             #: 1336



 Defendant Jackson has tweeted over 2,300 times.14 As of October of this year, she had 6,600

 “followers” on Twitter who automatically see her Tweets on their feeds.15

        Jackson has consistently used her Twitter account as a tool of her legislative office. Most

 of Defendant Jackson’s tweets involve her work as a legislator, first in the State House and then

 in the State Senate. While some more recent tweets are personal in nature, such as photos of her

 family and wedding, her account has historically been primarily used for her legislative work,

 and she is very active on Twitter during legislative sessions. For example, during her first

 legislative session as a state representative in 2012 she tweeted 55 times about the goings-on of

 the session, often tweeting multiple times a day.16 Her tweets informed the public about the

 progress of bills, encouraged members of the public to contact their representatives regarding

 legislation and asked the public for their thoughts on proposed legislation.17 During this first

 legislative session, out of her 55 tweets, only one was not related to her duties as a legislator.18

 She has continued this tradition throughout her tenure as a legislator: in March of 2022 she

 tweeted to announce the kickoff of the legislative session,19 to update and engage with the public

 about the goings-on of her committees,20 and to inform the public of her legislative schedule and

 achievements.21 As will be cataloged below, Defendant Jackson has consistently used Twitter as

 a tool of her legislative office throughout her career.



 14
    Ex. 1, at 4 (Bogen report).
 15
    Id.
 16
    Ex. 3.(all of Defendants’ tweets during 2012 session).
 17
    Id.
 18
    Id.
 19
    Ex. 4 (updating public on committee hearing schedule and providing link).
 20
    Ex. 5 (tweeting from the floor with link to Ronald Green hearing); Ex. 6 (announcing upcoming hearing
 to Ronald Green hearing and providing link); Ex. 7 (informing of investigation into youth housing issue
 outside of district); Ex. 8 (announcing committee hearing schedule and providing link).
 21
    Ex. 9 (providing legislative schedule, explaining bill to nolamom); Ex. 10 (providing legislative
 schedule, “more coming soon.”); Ex. 11 (announcing death penalty event and committee hearings); Ex.
 12 (announcing passage of bills from committee).
                                                    7
Case 3:23-cv-00175-DEW-KDM               Document 58-1          Filed 01/13/25        Page 8 of 49 PageID
                                              #: 1337



         Defendant Jackson utilizes Twitter to communicate with the public, providing

 information and official press releases from her office.22 She often specifically directs the public

 to Twitter to engage with her and the legislative process.23 She tweets legislative

 announcements,24 bills she filed or supported,25 and the work of various task forces and

 committees on which she serves.26 Her tweets often include graphics identifying her as the state

 senator.27 She tweets to solicit ideas and feedback from her followers,28 and has often engaged

 with other Twitter users regarding her specific legislative actions and beliefs.29 Senator

 Jackson’s Twitter profile does not contain any “content policy” or limitations restricting

 discussions to certain content.30

 Plaintiff Maya Detiege

         Plaintiff Maya Detiege is a Twitter user and Louisiana resident who interacted with

 Defendant Jackson on Twitter regarding the Senator’s legislation.31 Like Defendant Jackson,




 22
    Ex. 9 (announcing Twitter weekly newsletter); Ex. 13 (press release on AG opinion); Ex. 14
 (announcing her request for a meeting with other leaders); Ex. 15 (press release announcing police
 oversight); Ex.16, Jackson Dep. 224: 5-18.
 23
    Ex. 17 (“Tune in!! I will provide the link in the comments at 9!!!!”); Ex. 18 (“Please stay in touch with
 me by Twitter!”).
 24
    See, e.g., Ex. 14 (announcing her request for a meeting with other leaders), Ex. 19 (announcing hearing
 from floor and providing link); Ex. 20 (Announcing “Today we convene a special session at 4pm!!...”);
 Ex. 21 (Announcing “We adjourned without passing revenue…., photo from floor.”).
 25
    See, e.g., Exs. 22 (“I work on many bills”); Ex. 23 (discussing prayer bill with voters); Ex. 24
 (announcing passage of her bill and effective date); Ex. 25 (announcing cmtee passage of bill); Ex. 26
 (engaging in Twitter discussion re TOPS bill); Ex. 27 (announcing TOPS task force and bill withdrawal);
 Ex. 28 (encouraging people to call and meet with her about tax package).
 26
    See, e.g., Ex. 29 (announcing hearing on bill in committee); Ex. 30 (announcing order of bill hearing
 and providing link); Ex. 31 (announcing cmtees to watch); Ex. 32 (announcing outcomes of special
 session.).
 27
    See, e.g., Exs. 8, 9, 15, 31, 33, 34.
 28
    See, e.g., Exs. 35 (announcing bills, what’s your thoughts?), Ex. 36 (announcing bill filing time, asking
 for people to send bill ideas to her office); Ex. 37 (“listening to bill, let me know your thoughts”).
 29
    Ex. 16 Jackson Dep. 121:13-123:14; Ex. 9.
 30
    Ex. 38 (Jackson Twitter homepage); Ex. 39 Sherman decl. ¶7; Ex. 40 Detiege decl. ¶11.
 31
    Ex. 41 Detiege Dep. 8:8-9:15.
                                                      8
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25       Page 9 of 49 PageID
                                             #: 1338



 Ms. Detiege is also active on Twitter, where her username is @midaeros.32 She tweets

 frequently about a variety of topics, including the National Hockey League (her favorite pastime)

 and politics.33 Ms. Detiege, who graduated from Xavier University,34 has lived in New Orleans

 for many years35 and her Twitter profile is public and geotagged to New Orleans,36 which means

 her New Orleans location is visible to everyone on Twitter, whether they “follow” Ms. Detiege

 on the platform or not.37

         On June 24, 2022, the Supreme Court released its decision in Dobbs v. Jackson Women’s

 Health Organization, effectively overturning Roe v. Wade and eliminating the constitutional right

 to abortion.38 Abortion generates fierce political debate on both sides of the issue. On the same

 day that the decision was published in Dobbs, Defendant Jackson, who is self-described as pro-

 life “from the womb to the tomb,”39 tweeted out a graphic stating that Roe was overturned,

 followed by a list of her advocacy goals. The right side of the graphic was signed, “Senator

 Katrina R. Jackson.”40

         Two days later, on June 26, 2022, Senator Jackson tweeted another graphic explaining

 how her bill, SB 342, amended Louisiana’s 2006 “trigger law” outlawing abortion, with the only

 exception being an abortion necessary to save the life of the mother.41 This bill, authored by

 Senator Jackson and set to go into effect on August 1, 2022, expanded the statewide trigger law


 32
    Ex. 41, Detiege Dep. 17:02-16; Maya Detiege (@midaeros)’s Twitter Profile, X,
 https://twitter.com/midaeros (last visited Jan. 4, 2025); Ex. 40 Detiege decl. ¶ 3.
 33
    Ex. 41, Detiege Dep. 23:12-17.
 34
    Id. 9:18-25.
 35
    Id. 9:13-15 .
 36
    Id. 27:5—28:7; see also Maya Detiege (@midaeros)’s Twitter Profile, X, https://twitter.com/midaeros
 (last visited Jan. 4, 2025).
 37
    Ex. 33, Detiege Dep. 27:5-6.
 38
    See generally Dobbs v. Jackson Women's Health Org., 597 U.S. 215 (2022) (holding that there is no
 constitutionally-protected right to abortion).
 39
    Ex. 16 Jackson Dep. 84:07-17.
 40
    Ex. 33.
 41
    Ex. 24.
                                                    9
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25    Page 10 of 49 PageID
                                             #: 1339



  to include an exception of medical futility, and defined the morning after pill as contraception.42

  The graphic also stated that there is no exception to the abortion criminality even in cases where

  the pregnancy is the result of rape or incest of the pregnant woman.43 The impact of the bill

  would be statewide.44 The lack of an exception for rape and incest generated heated debate on

  Twitter.

         Ms. Detiege, who had recently experienced a complicated and dangerous pregnancy, was

  concerned and angry about how this new law would impact pregnant women’s access to medical

  care.45 She replied to the Senator’s tweet celebrating the overturning of Roe, “I say this with all

  disrespect: burn in hell. You don’t care about women. You don’t care about pregnant people. You

  don’t care about children. You don’t care about education. I do not respect all black women.

  Some of you bitches are very dumb.” Detiege continued, “I do not feel valued or supported by

  @KatrinaRJackson and I am actively rooting for her to be voted out in 2023. [praying emoji]

  can’t come fast enough. Rooting for your downfall.”46

         Senator Jackson replied that her bill provided three million dollars for crisis pregnancy

  centers.47 Ms. Detiege replied that the amount was a small percentage of the state budget, stating

  “thanks for the pennies, you (clown emoji).”48 Jackson then asked Detiege, “Did you advocate

  for more?”49 Detiege replied, “You’re the one bragging about how much it is. You’re the elected

  official. Did YOU advocate for more? Probably too busy not paying attention in committee




  42
     Id.
  43
     Id.
  44
     Ex. 16, Jackson Dep. 385:24—386:01.
  45
     Ex. 41, Detiege Dep. 53:13—54:18.
  46
     Ex. 42 (Detiege engaging with Jackson re bill).
  47
     Ex. 43 (Exchange with other user re women’s health funding).
  48
     Ex. 44 (“Thanks for the pennies, you (clown emoji).”)
  49
     Id.
                                                    10
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25       Page 11 of 49 PageID
                                             #: 1340



  meetings when your colleagues were asking questions…Poor response from an elected official.

  Hope your career ends quickly [praying emoji].”50

          This exchange unfolded over several hours. Defendant Jackson then permanently

  blocked Ms. Detiege from viewing Jackson’s Twitter page.51 Detiege cannot see or reply to

  Jackson’s tweets, retweet Jackson’s tweets, view Senator Jackson’s list of followers or followed

  accounts, or search for Senator Jackson’s tweets.52

  Plaintiff Dayne Sherman

          Years before blocking Ms. Detiege on Twitter, Defendant Jackson blocked Twitter user

  Dayne Sherman after he expressed criticism of her and her legislation on the platform. Mr.

  Sherman is active on social media and has a large following on Twitter, where is username is

  @TweettheSouth.53 He tweets to engage with current events, including Louisiana State politics

  and legislative happenings.54 Mr. Sherman uses Twitter because he believes it is the best way to

  communicate quickly with both the general public and legislators.55 Defendant Jackson and Mr.

  Sherman engaged in amiable and substantive political discussions many times on Twitter about

  pending and proposed legislation, including the issue of school vouchers.56 Prior to blocking Mr.

  Sherman, Defendant Jackson interacted with him so much on Twitter that he was her fourth most

  mentioned account.57




  50
     Ex. 45.
  51
     Ex. 41, Detiege Dep. 32:25—33:14; Ex. 40 Detiege decl. ¶ 17.
  52
     Ex. 41, Detiege Dep. 32:25—33:14; Ex. 40 Detiege decl. ¶ 17.
  53
     Ex. 46, Sherman Dep. 20:18—21:09.
  54
     Id. 21:10-25.
  55
     Id. 21:16-25.
  56
     Exs. 47; 48 (acknowledging Plaintiff’s work re education and thanking him for keeping the public
  informed); 49 (exchange re tax plans).
  57
     Ex. 1, at 5.
                                                     11
Case 3:23-cv-00175-DEW-KDM              Document 58-1        Filed 01/13/25    Page 12 of 49 PageID
                                             #: 1341



          Defendant Jackson blocked Sherman after he criticized her position on the issue of school

  prayer during a lengthy Twitter exchange spanning from April 4 to April 8, 2013.58 Senator

  Jackson had recently sponsored a bill that would allow students to ask for a prayer club in

  school.59 Mr. Sherman, believing that prayer is a good thing but it does not belong in public

  schools,60 reached out to Defendant Jackson on Twitter to discuss her bill, using the hashtag

  #stoptheprayerbill.61 In an ongoing tweet-thread that included Defendant Jackson, Mr. Sherman

  expressed his belief that Senator Jackson was pandering to the Louisiana Family Forum, which

  he found disappointing from a politician he admired.62 When Senator Jackson tweeted back that

  she, being a lawyer, would defend her bill against any potential lawsuits, therefore costing the

  state nothing, Mr. Sherman replied, “Well that will make it a cakewalk for the #ACLU.”63 Mr.

  Sherman suggested the Senator scrap the bill, arguing that there was no way to make it

  constitutional.64

          The Twitter discussion continued over the next couple of days, with Defendant Jackson

  debating the constitutionality of her proposed bill with Mr. Sherman, as well as other Twitter

  users.65 On the evening of April 7, Defendant Jackson tweeted at Mr. Sherman

  (@TweetheSouth) and the other Twitter users who had participated in the discussion

  “Amendment to bill will post tomorrow let’s talk then whose in?” On April 8, Mr. Sherman

  tweeted that teachers’ rights would be violated by the school prayer bill; Senator Jackson

  disagreed. Senator Jackson replied that private organizations are able to use public property,


  58
     Ex. 46, Sherman Dep. 11:11-24; Ex. 39 Sherman decl. ¶ 15.
  59
     Ex. 23; Ex. 16, Jackson Dep. 323:16-20.
  60
     Ex. 39 at ¶ 11.
  61
     Ex. 23 at 2.
  62
     Ex. 23.
  63
     Id. at 3.
  64
     Id. at 4.
  65
     Id. at 4 et seq.
                                                    12
Case 3:23-cv-00175-DEW-KDM                Document 58-1        Filed 01/13/25   Page 13 of 49 PageID
                                               #: 1342



  such as reserving the capitol.66 Mr. Sherman responded that that was an equal access right.67

  Jackson continued to defend the constitutionality of her bill. Mr. Sherman replied, “that’s not

  what the courts say. It’s unconstitutional.”68 That was the last reply that Mr. Sherman was able to

  tweet to Senator Jackson’s Twitter account.69 When he next searched the Defendant’s username,

  he was taken to a page indicating that he had been blocked by the Senator.70 After being blocked

  by the Defendant, he was no longer able to view or interact with any of her tweets.71 He had

  previously relied on her Twitter account to learn about legislation and follow the goings-on of the

  Senate in legislative session.72


                                     V.       Summary of the Argument

       The First Amendment principles governing this case are well established. The “government

  may not grant the use of a forum to people whose views it finds acceptable but deny use to those

  wishing to express less favored or more controversial views.”73 That this censorship occurs on

  social media rather than in-person does not change the First Amendment harm to citizens, who

  are cut off from the modern “public square.”74 Senator Jackson created a designated public

  forum and then engaged in viewpoint discrimination by ejecting Plaintiffs from the forum based

  upon disagreement with their viewpoints. Plaintiffs are entitled to summary judgment.




  66
     Id. at 8.
  67
     Id.
  68
     Id. at 9.
  69
     Ex. 39 ¶ 13-14.
  70
     Id. at ¶ 17.
  71
     Id. at ¶ 18
  72
     Id. at ¶ 9.
  73
     Police Dep’t of Chi. v. Mosley, 408 U.S. 92, 96 (1972).
  74
     Packingham, 582 U.S. at 107.
                                                      13
Case 3:23-cv-00175-DEW-KDM              Document 58-1        Filed 01/13/25       Page 14 of 49 PageID
                                             #: 1343



                                        VI.     Law and Argument
  A. Summary judgment standard

          The Fifth Circuit instructs that “[s]ummary judgment is appropriate if there is ‘no

  genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

  law.’”75 The material facts of this case consist solely of Defendant Jackson’s actions on

  Twitter.76 There is no genuine dispute as to those material facts. Defendant Jackson admitted to

  the authenticity of her Twitter data, which she produced to Plaintiffs in her discovery responses.77

  Plaintiffs have an expert that can use that data to authenticate every Tweet at issue in this case as

  having been made by the Senator, and the time at which it was made.78 The tweets also remain

  publicly available on Twitter, and can be verified by any fact witness. Finally, Defendant

  Jackson has also now admitted to the authenticity of the tweets she claimed no recollection of in

  her deposition.79 Because Plaintiffs’ case relies exclusively on the Senator’s Twitter interactions,

  and those are established by the authenticated data, public information, and Defendant’s own

  admissions, there is no disputed issue of material fact.

         Because the only issues remaining are questions of law, summary judgment is

  appropriate. This Court should find, as a matter of law, that (1) Senator Jackson engaged in

  impermissible viewpoint and content-based discrimination by blocking Plaintiffs Detiege and

  Sherman for engaging in protected First Amendment political speech in a designated public

  forum and (2) Senator Jackson’s Twitter activity constitutes state action under Supreme Court

  precedent. As such, this Court should grant Plaintiffs’ motion for summary judgment.



  75
     Narayanan v. Midwestern State Univ., No. 22-11140, 2023 WL 6621676, at *3 (5th Cir. Oct. 11, 2023);
  Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir 1994).
  76
     Narayanan, 2023 WL 6621676, at *3 (quoting Little, 37 F.3d at 1075).
  77
     Ex. 50.
  78
     Ex. 1, at 6-7.
  79
     Ex. 51.
                                                    14
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25      Page 15 of 49 PageID
                                             #: 1344



  B. Defendant Jackson’s Blocking of Plaintiffs on Twitter Violated Plaintiffs’ First
     Amendment Rights

         Plaintiffs have been deprived of their First Amendment rights under the U.S.

  Constitution.80 42 U.S.C. § 1983 provides a cause of action against “[e]very person who, under

  color of any statute, ordinance, regulation, custom, or usage, of any State deprives someone of a

  federal constitutional or statutory right.”81 In evaluating a § 1983 claim, the Court must first

  analyze whether Plaintiffs’ speech “is speech protected by the First Amendment, for, if it is not,

  we need go no further.”82 If Plaintiffs’ speech is protected speech, it is then necessary to

  “identify the nature of the forum, because the extent to which the government may limit access

  depends on whether the forum is public or nonpublic.”83 Finally, it is necessary to “assess

  whether the justifications for exclusion from the relevant forum satisfy the requisite standard.”84

  Applying these steps to the instant facts, it is clear that (1) Plaintiffs’ speech was protected by the

  First Amendment; (2) Jackson’s Twitter profile constitutes a designated public forum; and (3)

  Defendant Jackson engaged in unconstitutional viewpoint discrimination when she blocked

  Plaintiffs from her Twitter account. Proof of each element will be presented below.

         1. Plaintiffs’ speech was protected by the First Amendment

         The First Amendment of the United States ensures that private citizens maintain the right

  to speak freely and without government intrusion. This protects the right of private citizens to

  freely criticize the government and policies they do not agree with.85 Social media sites "provide




  80
     Robinson v. Hunt Cnty., 921 F.3d 447, 449-50 (5th Cir. 2019).
  81
     42 U.S.C.A. § 1983.
  82
     Cornelius v. NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 797 (1985).
  83
     Id.
  84
     Id.
  85
     Robinson, 921 F.3d at 447.
                                                    15
Case 3:23-cv-00175-DEW-KDM              Document 58-1          Filed 01/13/25      Page 16 of 49 PageID
                                             #: 1345



  perhaps the most powerful mechanisms available to a private citizen to make his or her voice

  heard."86 The nature of the online expression is accepted by courts to be “pure speech.”87

          In the United States we protect speech even where it is caustic and difficult to hear.88

  Free speech invites dispute and serves an important purpose when it creates dissatisfaction with

  the current conditions or stirs people to anger.89 This sacred national value applies to online

  speech—our modern “public square”90— where courts have protected controversial and

  challenging speech. In Robinson v. Hunt Cty., in considering social media censorship, the Fifth

  Circuit reminded, "[i]t is firmly settled that under our Constitution the public expression of ideas

  may not be prohibited merely because the ideas are themselves offensive to some of their

  hearers."91

          Plaintiff Sherman was blocked by Defendant Jackson for challenging her school prayer

  bill in the exchange, as cataloged supra at 10-12. In reviewing the tweets that caused Defendant

  Jackson to block Plaintiff Sherman, Jackson could not point to a single word from Mr. Sherman

  that would merit a blocking by her own professed “case by case”92 standard. Mr. Sherman’s

  statements directly commented on proposed legislation affecting all Louisianians. Here, based on

  her policy disagreement with Mr. Sherman on school prayer, Defendant Jackson impermissibly

  “regulat[ed] speech when the specific motivating ideology or the opinion or perspective of the

  speaker is the rationale for the restriction.”93


  86
     Packingham, 582 U.S. at 107.
  87
     303 Creative LLC v. Elenis, 600 U.S. 570, 597 (2023).
  88
     Garrison v. Louisiana, 379 U.S. 64, 75 (1964) (quoting N.Y. Times Co. v. Sullivan, 376 U.S. 254,270
  (1964)).
  89
     Cox v. Louisiana, 379 U.S. 536, 551-52 (1965).
  90
     Packingham, 582 U.S. at 107.
  91
     Robinson, 921 F.3d at 447 (quoting Street v. New York, 394 U.S. 576, 592 (1969)); see also Snyder v.
  Phelps, 562 U.S 443, 454-56 (2011).
  92
     Ex. 16, Jackson Dep. 353:23-25, 354:1-6.
  93
     Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819, 829 (1995).
                                                     16
Case 3:23-cv-00175-DEW-KDM              Document 58-1          Filed 01/13/25      Page 17 of 49 PageID
                                             #: 1346



          Plaintiff Detiege was blocked by Defendant Jackson for the exchange chronicled supra at

  7-10. Defendant Jackson has said that Ms. Detiege’s tweets were disrespectful, derogatory, and

  contained hate speech, making them subject to censorship.94 That is wrong as a matter of law.

  First, derogatory, offensive, and even vulgar speech is protected by the Constitution.95 "Speech

  is often provocative and challenging . . . . [But it] is nevertheless protected against censorship or

  punishment, unless shown likely to produce a clear and present danger of a serious substantive

  evil that rises far above public inconvenience, annoyance, or unrest."96

          Second, the idea that the government has an interest in preventing speech expressing

  ideas that offend, including racist or sexist speech, “strikes at the heart of the First Amendment.

  Speech that demeans on the basis of race, ethnicity, gender, religion, age, disability, or any other

  similar ground is hateful; but the proudest boast of our free speech jurisprudence is that we

  protect the freedom to express ‘the thought that we hate.’”97 “As a general matter, we have

  indicated that in public debate our own citizens must tolerate insulting, and even outrageous,

  speech in order to provide “adequate ‘breathing space’ to the freedoms protected by the First

  Amendment.”98

          Finally, Detiege’s speech was not hate speech. Detiege is also a Black woman.99 Her

  point in making her comment was that she does not blindly stand with all Black women, simply




  94
     Ex. 16, Jackson Dep. 268:22—269:12, 278:5-8, 281:21-25; 379:20-22; Ex. 52 (spewing hate speech
  unprotected by First Amendment); Ex. 53 (hate speech); Ex. 54 (hate speech, not unusual to block
  offensive, harassment), Ex. 55 (hate speech, lewd comments inappropriate for teenagers.).
  95
     Robinson, 921 F.3d at 447; see Matal v. Tam, 137 U.S. 1744, 1763 (2017); see also id. at 1766
  (Kennedy, J., concurring).
  96
     Sgaggio v. De Young, No. 20-cv-01977-PAB-KMT, 2022 WL 970008, at *16 (D. Colo. Feb. 1,
  2022)(quoting City of Houston v. Hill, 482 U.S. 451, 461 (1987)).
  97
     Matal, 137 U.S. at 1764.
  98
     Boos v. Barry, 485 U.S. 312, 322 (1988) (quoting Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 56
  (1988)).
  99
     Ex. 40, Detiege decl.¶ 14.
                                                     17
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 18 of 49 PageID
                                               #: 1347



  because of race.100 She was declining to stand with Katrina Jackson, despite her being a Black

  woman to whom she would normally extend support and solidarity, because of her legislation.101

  Detiege’s words were not hate speech, they were to the contrary. Detiege engaged in her tweets

  to express outrage over policies enacted by Defendant Jackson, which Ms. Detiege found deeply

  dangerous for women and also contrary to Defendant Jackson’s professed faith.102 This is core

  political speech.103 “The inquiry into the protected status of speech is one of law, not fact,”104 and

  Plaintiffs’ speech was unquestionably protected.

          2. Defendant Jackson’s Twitter Page is a Designated Public Forum

          After determining that the plaintiff was engaged in protected speech, it is necessary next

  to identify the nature of the forum in which the plaintiff is attempting to exercise his or her

  rights. There are three types of speech forums for First Amendment purposes: “the traditional

  public forum, the public forum created by governmental designation, and the nonpublic

  forum.”105 First Amendment protections provided in designated public forums are the same as

  those given to traditional public forums—strict scrutiny.106 The government also may open a

  nonpublic forum for a limited purpose.107 Restrictions on speech in a limited public forum are

  subject to intermediate scrutiny by the courts.108




  100
      Id.
  101
      Id.
  102
      Ex. 41, Detiege Dep. 53:13-54:18; Ex. 40 Detiege Decl. ¶ 13.
  103
      Meyer v. Grant, 486 U.S. 414, 421-22 (1988) (Interactive communication concerning political change
  is appropriately described as “core political speech.”)
  104
      Connick v. Myers, 461 U.S. 138, 148 n. 7 (1983).
  105
      Cornelius, 473 U.S. at 802.
  106
      Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747, 757 (5th Cir. 2010) (holding that any limitation of
  public comment in these “forums must pass strict scrutiny with a compelling state interest and narrow
  tailoring.”); see also Minnesota Voters All. v. Mansky, 585 U.S. 1, 11 (2018).
  107
      Chiu v. Plano Indep. Sch. Dist., 260 F.3d 330, 346 (5th Cir. 2001).
  108
      Minnesota Voters All., 585 U.S. at 2 (holding that a restriction must be “reasonable in light of the
  purpose served by the forum” and must be “guided by objective, workable standards.”).
                                                       18
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25       Page 19 of 49 PageID
                                             #: 1348



          As a threshold matter, the Defendant’s Twitter page is a public forum.109 "While in the

  past there may have been difficulty in identifying the most important places (in a spatial sense)

  for the exchange of views, today the answer is clear. It is cyberspace—the 'vast democratic

  forums of the Internet' in general, and social media in particular."110 These platforms “allow a

  person with an Internet connection to ‘become a town crier with a voice that resonates farther

  than it could from any soapbox.’”111 On Twitter, “users can petition their elected representatives

  and otherwise engage with them in a direct manner.”112 When a government official selectively

  blocks criticism on Twitter, the blocked citizen is prevented from engaging in public debate,

  which prohibits access to “the modern public square”113 and unfairly tilts public debate by

  reducing the visibility of dissent. Such censorship is contrary to “our ‘profound national

  commitment to the principle that debate on public issues should be uninhibited, robust, and wide-




  109
      See generally Robinson, 921 F.3d at 448 (even where parties did not argue whether social media forum
  was limited or designated, court assumed it was a forum subject to First Amendment protections);
  Sammons v. McCarthy, 606 F. Supp. 3d 165, 213 (D. Md. 2022) (page is a public forum if it is open to
  public comment on matters of public import); Garnier v. O’Connor-Ratcliff, 41 F. 4th 1158 (9th Cir.
  2022) (interactive sections of social media account are a public forum) vacated sub nom.; O’Connor-
  Ratcliff v. Garnier, 601 U.S. 205 (2024); West v. Shea, 500 F. Supp. 3d 1079, 1084 (C.D. Cal. 2020);
  Lewis v. Jones, 440 F. Supp. 3d 1123, 1135 (E.D. Cal. 2020) (interactive component of page, which
  defendant left open for public discourse, was a public forum); Czosnyka v. Gardiner, No. 21-cv-3240,
  2022 WL 407651, at *5 (N.D. Ill. Feb. 10, 2022) (when government official uses social media for official
  business, the interactive portions of the social media platforms are public fora for First Amendment
  purposes) (referencing Davison, 912 F.3d at 682; Knight First Amendment Inst., 928 F.3d at 237; One
  Wisconsin Now v. Kremer, 354 F. Supp. 3d 940, 953 (W.D. Wis. 2019)); Felts v. Reed, 504 F. Supp. 3d
  978, 985 (E.D. Mo. 2020) (public forum created where defendant referred to his title in the account
  handle and in his bio; showed pictures of himself in an official capacity; and used account to advertise
  legislative developments and community events, and to conduct other business related to the office, and
  opened the account in indiscriminate use by the public).
  110
      Packingham, 582 U.S. at 104 (citations omitted).
  111
      Id. at 107 (quoting Reno v Am. C.L. Union, 521 U.S. 844, 868 (1997)).
  112
      Id. at 104-05.
  113
      Id. at 107.
                                                    19
Case 3:23-cv-00175-DEW-KDM                Document 58-1           Filed 01/13/25        Page 20 of 49 PageID
                                               #: 1349



  open, and that it may well include vehement, caustic, and sometimes unpleasantly sharp attacks

  on government and public officials.’”114

          To determine whether a particular official created a designated or limited public forum,

  the Fifth Circuit looks to "(1) the government's intent with respect to the forum, and (2) ‘the

  nature of the [forum] and its compatibility with the speech at issue.’"115 “The government

  creates a designated public forum ‘by intentionally opening a nontraditional forum for public

  discourse.’”116 A limited public forum is open for public discourse by permitting speech of

  limited purpose or content.117

        Defendant Jackson created a designated public forum. Her account is open to all members

  of the public.118 She created her account in 2012, the same year she took office as a state

  representative.119 Throughout the 12 years of Senator Jackson’s career as a public

  representative, she has consistently used Twitter to engage with the public. She asks for public

  input on Twitter.120 She responds to Tweets from the public.121 She uses Twitter to announce

  information about her work and encourage public comment at meetings.122 She tweets about

  upcoming legislative meetings and encourages the public to participate.123 She tweets about


  114
      Garrison v. Louisiana, 379 U.S. 64, 75 (1964) (quoting N.Y. Times Co. v. Sullivan, 376 U.S. 254, 270
  (1964)).
  115
      Chiu, at 346 (quoting Estiverne v. La. State Bar Ass’n, 863 F.2d 371, 378 (5th Cir 1989)).
  116
      Id. at 347 (quoting Cornelius, 473 U.S. at 805).
  117
      Fairchild, 597 F.3d at 759.
  118
      Ex. 16, Jackson Dep. 139:4-18; Ex. 56 at 3, RFA 11.
  119
      Ex. 1; Ex. 16, Jackson Dep. 13:18-19; Ex. 2.
  120
      See, e.g., Ex. 18 (asking for public contact on Twitter during legislative session); Ex. 35 (seeking input
  on marijuana legislation); Ex. 36 (asking for input on bills); Ex. 37 (seeking input on pharmacy bill); Ex.
  57 (“We would love to hear from you…contact us.”); Ex. 58 (seeking input on Jindal retirement
  package.”); Ex. 59 (asking for input on questions to ask about budget).
  121
      See, e.g., Ex. 14 (responding to NFIB, using Twitter to set up meeting); Ex. 26 (replying to discussion
  re TOPS); Ex. 48 (discussing BESE with users); Ex. 60 (replying re road funding); Ex. 61 (engaging on
  healthcare) Ex. 62 (engaging with user on her policy votes); Ex. 63 (responding to question about care
  for kids); Ex. 16, Jackson Dep. 177:16-17.
  122
      Ex. 16, Jackson Dep. 243:18—244:20, 246:17-21; See, e.g., Exs. 15, 34.
  123
      See, e.g., Exs. 19, 29, 30, 31.
                                                       20
Case 3:23-cv-00175-DEW-KDM               Document 58-1         Filed 01/13/25       Page 21 of 49 PageID
                                              #: 1350



  legislation that has passed and shares information on legislation.124 She uses Twitter to engage

  with citizens and organizations throughout the state regarding bills she authored or sponsored

  and seeks citizen input on public policy,125 including to poll users on their thoughts on the

  legalization of marijuana126 and to solicit bill ideas from Twitter users.127

           Defendant Jackson explicitly intended for her Twitter page to be a place to engage with

  and receive comment from members of the public on any topic.128 Anyone, including users who

  did not reside in her district, can comment on any topic and engage Defendant Jackson in a

  discussion on her Twitter account.129 For example, prior to blocking Mr. Sherman, she often

  engaged in political discussion with him on Twitter, despite the fact that he lived outside her

  district;130 she has also had numerous exchanges about proposed legislation with a Twitter user

  that goes by the handle “Nola Mom,” who clearly does not live in her district.131 She has spoken

  in the media about how Twitter is a direct line to her, whereas other forms of media may not

  be.132

           Participation on her account is not limited to certain discourse.133 Her account has no

  warning that certain content is prohibited.134 Twitter is optimized for public debate and unlike

  other “mixed use” pages, Jackson does not place any limitations on content or viewpoints that




  124
      Ex. 25; Ex. 16, Jackson Depo 217:17-218:09, 222:05-20.
  125
      Exs. 22, 17, 18, 27, 49, 63, 64 (asking for public discussion on amendment of bill), 65 (advising CASA
  who voted on bill).
  126
      Ex. 35.
  127
      Ex. 36.
  128
      Ex. 16, Jackson Dep. 145:15-20.
  129
      See, e.g., Ex 66, Green Decl.
  130
      Exs. 39, 48, 49 Sherman Decl. ¶¶5-6.
  131
      Exs. 9, 67.
  132
      Jack Richards, @lalegis, You Can Tweet That¸ TOWN TALK (June 10, 2016, 2:16 PM),
  https://www.thetowntalk.com/story/news/2016/06/10/lalegis-you-can-tweet/85706164/.
  133
      Ex. 16, Jackson Dep. 145:15-20.
  134
      Ex. 38.
                                                     21
Case 3:23-cv-00175-DEW-KDM               Document 58-1         Filed 01/13/25       Page 22 of 49 PageID
                                              #: 1351



  can be expressed.135 There are no policies or rules for tweeting on the page.136 Any such rules

  of decorum, limitations on acceptable speech, or boundaries on debate would have to be clearly

  stated, and “sufficiently definite and objective to prevent arbitrary or discriminatory

  enforcement.”137 Defendant Jackson’s failure to place any limits on the interactive activity on

  her Twitter page makes it a designated public forum as a matter of law.138 It was operated as

  such at all times relevant to this litigation.139

        The facts of Knight v. Trump are largely analogous to the facts of this case. There the

  United States Court of Appeals for the Second Circuit found that President Trump’s Twitter

  account was a public forum because it opened an instrumentality of communication “for

  indiscriminate use by the general public.”140 The court reasoned that “the President makes

  official statements on a platform that allows anyone—not just his supporters—to comment and

  engage with his statements and with each other.”141 The court also noted that “[t]he only

  limitation Twitter places on creating an account is age-based: those under 13 years of age may

  not use its services.”142 The same is true of Defendant Jackson, who opened an instrumentality

  of communication 'for indiscriminate use by the general public', and treats it as such. Like

  Trump, Jackson makes official statements on Twitter and has no clear restrictions on her


  135
      Ex. 38; Ex. 40, Detiege Decl. ¶ 11; Ex. 39, Sherman Decl. ¶ 7.
  136
      Id.
  137
      Am. Freedom Def. Initiative v. King Cnty., 904 F.3d 1126, 1130 (9th Cir. 2018); Minnesota Voters All.,
  585 U.S. at 2, (holding that any restriction must be “guided by objective, workable standards.”).
  138
      See generally Davison v. Randall, 912 F.3d 666, 682 (4th Cir. 2019) (discussing a designated forum
  where public is invited to participate in dialogue and express views, without restrictions and was open to
  public); Garnier v. O’Connor-Ratcliff, 41 F.4th 1158 (9th Cir. 2022), vacated sub nom.; O’Connor-
  Ratcliff v. Garnier, 601 U.S. 205 (2024) (holding that where the official placed no rules of decorum or
  etiquette on the page, it is a designated—rather than limited—public forum, having been opened for all
  discussions with the public.).
  139
      Ex. 40, Detiege Decl. ¶ 11; Ex. 39, Sherman Decl. ¶ 7.
  140
      Knight First Amend. Inst. at Colum. Univ. v. Trump, 953 F.3d 216, 223 (2nd Cir. 2020); vacated as
  moot, Biden v. Knight First Amend. Inst. at Colum. Univ., 141 S.Ct. 1220 (2021).
  141
      Id. at 221.
  142
      Id. at 222.
                                                      22
Case 3:23-cv-00175-DEW-KDM              Document 58-1          Filed 01/13/25      Page 23 of 49 PageID
                                             #: 1352



  comment or reply functions. The former president, like Jackson, “repeatedly used the account as

  an official vehicle for governance and made its interactive features accessible to the public

  without limitation.”143 She readily engages with her followers and anyone else who comments

  on her posts, without regard to whether they fall within her voting district.144 Like Trump,

  Jackson has no limitation on her account other than Twitter’s restriction that “is age-based: those

  under 13 years of age may not use its services.” Jackson clearly created a designated public

  forum.

           3. Defendant Jackson Engaged in Impermissible Viewpoint Discrimination in

              Blocking Plaintiffs

           "It is firmly settled that under our Constitution that the public expression of ideas may not

  be prohibited merely because the ideas are themselves offensive to some of their hearers."145

  The Supreme Court explains, “[w]hen the government targets not subject matter, but particular

  views taken by speakers on a subject, the violation of the First Amendment is all the more

  blatant.”146 Where the plaintiff proves viewpoint discrimination, it is “immaterial whether the

  Facebook page is analyzed as a limited or designated public forum.”147 The First Amendment

  “forbid[s] the State to exercise viewpoint discrimination” in either setting, “even when the

  limited public forum is one of its own creation.”148 Here, Defendant Jackson blocked Plaintiffs

  Detiege and Sherman for their critical viewpoints on legislation she authored and sponsored. But

  the Fifth Circuit does not require Plaintiffs to show the blocking was a result of criticism.


  143
      Knight First Amend. Inst. at Colum. Univ., 953 F.3d at 223 (quoting Knight First Amend. Inst. at
  Colum. Univ. v. Trump, 928 F.3d 226, 237 (2nd Cir. 2019)).
  144
      See supra n. 132-134; Ex. 16 Jackson Dep. 165:25-16713.
  145
      Robinson v. Hunt Cnty., 921 F.3d 440, 447 (5th Cir. 2019) (quoting Street v. New York, 394 U.S. 576,
  592 (1969)); see also Snyder v. Phelps, 562 U.S 443, 454-56 (2011).
  146
      Rosenberger, 515 U.S. at 828.
  147
      Robinson, 921 F.3d at 448.
  148
      Id. at 448 (quoting Rosenberger., 515 U.S. at 829).
                                                     23
Case 3:23-cv-00175-DEW-KDM              Document 58-1       Filed 01/13/25      Page 24 of 49 PageID
                                             #: 1353



  Defendant’s actions “constitute viewpoint discrimination regardless of whether they were

  motivated by (plaintiff’s) criticism of (defendant) or a determination that (plaintiff’s) comment

  was otherwise ‘inappropriate.’”149

          Defendant Jackson’s actions in response to her exchange with Mr. Sherman are

  unconstitutional viewpoint discrimination. Mr. Sherman was blocked because he disagreed with

  Defendant Jackson regarding a bill she filed. Mr. Sherman and Defendant Jackson only engaged

  in discussion related to Jackson’s bills and work as a legislator.150 Mr. Sherman both praised and

  criticized Defendant Jackson based on her legislation, depending on whether he agreed or

  disagreed as to the effect and constitutionality of said legislation.151 Mr. Sherman was only

  blocked after a lengthy discussion with Defendant Jackson on Twitter regarding a school prayer

  bill that he believed violated the Constitution.152

        Although Jackson did not admit in deposition to silencing Sherman based upon his content,

  she also cannot deny doing so because her testimony is that she cannot remember whether she

  ever blocked Mr. Sherman at all.153 Mr. Sherman was blocked shortly after disagreeing with

  Defendant Jackson about her proposed legislation.154 Although the Senator is unable to recall

  blocking Mr. Sherman, or any other Twitter users besides Ms. Detiege, the Court can deduce that

  she blocked him based upon viewpoint because of the timing of the block. Courts have found

  that when a Plaintiff is blocked shortly after publicly expressing criticism, this strongly suggests




  149
      Robinson, 921 F.3d at 447.
  150
      Ex. 39, Sherman Decl. ¶ 5.
  151
      Ex. 39, Sherman Decl. ¶ 6.
  152
      Ex. 23; Ex. 39, Sherman Decl. ¶ 10-15.
  153
      Ex. 16, Jackson Dep. 354:19-23; 355:2-7.
  154
      Ex. 39, Sherman Decl. ¶ 14-15.
                                                    24
Case 3:23-cv-00175-DEW-KDM               Document 58-1          Filed 01/13/25        Page 25 of 49 PageID
                                              #: 1354



  viewpoint discrimination.155 Here, the proximity in time and the absence of other intervening

  statements indicate Defendant Jackson blocked Mr. Sherman because of the viewpoint expressed

  in his tweets criticizing her proposed legislation on school prayer. She also has a known history

  of blocking156 and applies a self-admitted subjective standard.157 Her actions constitute

  viewpoint discrimination and are a violation of Mr. Sherman’s rights under the First Amendment.

              Defendant Jackson’s blocking of Ms. Detiege also constitutes viewpoint discrimination.

  Like Mr. Sherman, Ms. Detiege disagreed with a bill filed by Defendant Jackson.158 Defendant

  Jackson’s abortion bill affected Ms. Detiege personally, and Ms. Detiege took to Twitter to

  express her opinion to Defendant Jackson, the legislator who sponsored and helped author the

  bill.159 Ms. Detiege believed that the bill was dangerous for women throughout Louisiana.160

              It is uncontested that Defendant Jackson blocked Ms. Detiege based on the viewpoint

  expressed in her speech. Her testimony is that she silenced Ms. Detiege because she was

  “derogatory,” 161 “disrespectful,” 162 “us[ing] profanity,” 163 “flaming,”164 “filled with




  155
     See Knight First Amendment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541, 575 (S.D.N.Y.
  2018), aff’d, 928 F.3d 226 (2d Cir. 2019) vacated as moot, Knight First Amend. Inst. at Colum. Univ v.
  Biden, 141 S.Ct. 1220 (2021). (concluding plaintiffs being blocked shortly after posting critical tweets of
  the President supported the determination that they were “indisputably blocked as a result of viewpoint
  discrimination”); Price v. City of New York, No. 15 CIV 5871 (KPF), 2018 WL 3117507, at *16
  (S.D.N.Y. June 25, 2018) (blocking plaintiff on social media very shortly after she posted critical
  comments “strongly suggest[s]” the motivation was to silence her public reproach); Attwood v. Clemons,
  526 F. Supp. 3d 1152, 1172–73 (N.D. Fla. 2021) (explaining the short time frame between the plaintiff’s
  comment and the defendant blocking the plaintiff contributed to a reasonable inference of viewpoint
  discrimination).
  156
        Supra at p. 27, fn. 190-199.
  157
        Supra at p. 25-26.
  158
      Ex. 40, Detiege Decl. ¶ 9.
  159
      Ex. 41, Detiege Dep. 53:21—54:18; Ex. 40, Detiege Decl. ¶¶ 7-10.
  160
      Id.
  161
      Ex. 16, Jackson Dep. 270:15.
  162
      Id. 277:15-18.
  163
      Id. 283:16-22.
  164
      Id. 381: 8-15.
                                                      25
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25       Page 26 of 49 PageID
                                             #: 1355



  foolishness”165 and using what she described as “hate speech.”166 Although Defendant Jackson

  and Ms. Detiege have differing viewpoints on the divisive issue, Defendant’s disapproval of Ms.

  Detiege’s views does not give her the right to censor them.167 Ms. Detiege’s speech may have

  been offensive to Defendant Jackson, but that does not make it less protected.168

          The Fifth Circuit has held that “[o]fficial censorship based on a state actor’s subjective

  judgment that the content of protected speech is offensive or inappropriate is viewpoint

  discrimination.”169 Defendant Jackson testified that this is exactly what she does. Defendant

  Jackson blocks users for speech that she perceives to be “disrespectful.”170 She defines

  disrespectful as a “wide range”171 and “myriad of ways, depending on the subject matter”172

  determined on a “case by case basis”173 including name calling,174 “getting off the issue and

  starting to get insulting,”175 and specifically referenced Plaintiff Detiege’s tweets.176 She also

  blocks users who engage in “derogatory” speech.177 She defines derogatory as “anything that

  goes outside of the issues that we’re discussing and starts name calling or starts being

  disrespectful.”178 When asked what she uses to determine whether speech is disrespectful,




  165
      Id.
  166
      Id. 284:4-10.
  167
      Id. 284:4-10.
  168
      Snyder, 562 U.S. at 460-61.
  169
      Robinson, 921 F.3d at 447 (holding that defendants' actions “constituted viewpoint discrimination
  regardless of whether they were motivated by her criticism of the defendant sheriff’s office or a
  determination that her comment was otherwise ‘inappropriate.’”); see Matal, 137 U.S. at 1763 (majority
  opinion); see also id. at 1766 (Kennedy, J., concurring).
  170
      Ex. 16, Jackson Dep. 277—280.
  171
      Id. 281:3-5.
  172
      Id. 282:1-3.
  173
      Id. 282:1-15.
  174
      Id. 277:14-18.
  175
      Id. 281:3-10.
  176
      Id. 381:3-15.
  177
      Id. 270:15, 277:15-18, 268:22—269:12, 279:24—280:02.
  178
      Ex. 16, Jackson Dep. 280:4-6.
                                                    26
Case 3:23-cv-00175-DEW-KDM              Document 58-1        Filed 01/13/25       Page 27 of 49 PageID
                                             #: 1356



  Defendant Jackson replied, “my intelligence,” and religious faith.179 She noted that she evaluates

  “mentally” on a case-by-case basis whether something is disrespectful.180 She blocks users who

  engage in hate speech from her page.181 She defines hate speech as “[w]hen you single out a

  person because they belong to a certain racial class and you do so in a manner that brings—and I

  can’t fully explain it---but basically when you single out someone because they belong to a

  certain class and offer offensive comments to them.”182 She blocks users who make lewd,

  inappropriate comments.183 She defines “lewd” as “a variety of things. Lewd can be—for me,

  lewd means comments that are inappropriate.”184 And “inappropriate is case by case basis.

  Anything I believe is inappropriate. Profanity…attacks on character that go well beyond

  anything appropriate.”185 Jackson’s testimony describing speech she censors includes only

  speech fully protected by the law and is determined only to her arbitrary assessment of what

  speech runs afoul of her subjective standards.

         Blocking speech that is “disrespectful” or “derogatory” is a standardless policy and

  allows for her subjective determination of which speech should be blocked. Jackson’s own

  testimony confirms that she blocks based on her own subjectivity.186 This is borne out by the

  experience of many Louisianians who have been blocked by Senator Jackson for fully protected

  speech with which she disagrees. Although she cannot recall any single specific instance,187




  179
      Id. 282:16-23.
  180
      Id. 283:11, 282:11, 362:12-14.
  181
      Id. 359:15-17.
  182
      Id. 377:4-10.
  183
      Ex. 52.
  184
      Ex. 16, Jackson Dep. 360:19-22.
  185
      Id. 360:23-25, 361:1-2.
  186
      Id. 361:5-11.
  187
      Id. 266:11-25, 269:22-25; 270:1-25; 274:23-24, 275:1-7; 278:12-21, 284:20-25, 285:1-3; 296:24-25;
  301:3-12; 372:21-23; 374:15-16.
                                                    27
Case 3:23-cv-00175-DEW-KDM              Document 58-1       Filed 01/13/25      Page 28 of 49 PageID
                                             #: 1357



  Defendant Jackson has a history of blocking Twitter users who challenge her viewpoint.188 She

  has also blocked Twitter users Andrew McKevitt,189 Andrew Perry,190 Donald Hodge,191 Eleanor

  Hugh-Jones,192 Gabrielle Perry,193 Katherine Hurst,194 M. Christian Green,195 Paige Bailey,196 and

  Priscilla Gonzalez197 for expressing criticism of her legislative positions. These are all Louisiana

  citizens, all blocked by Defendant Jackson for expressing criticism of her or her legislation on

  Twitter. These other blockings are relevant to this litigation because they show that Senator

  Jackson has a pattern of blocking contrary viewpoints, which belies her representation that she

  only blocks what she perceives as unprotected speech. She blocks criticism, which she cannot

  do, regardless of whether she has created a limited or designated public forum. It also shows that

  she blocks with essentially no standards. Although Andrew Perry has been blocked by the

  Senator,198 she testified at deposition that his tweet would not be derogatory language that would

  get him blocked.199 She also testified that she wouldn’t normally block someone for the critical

  rhetoric in Gabrielle Perry’s tweets, yet she too was blocked by the Senator.200 When one user

  said, “what an embarrassingly stupid thing to say. I feel sorry for you.” The Senator replied,

  “your inability to advocate for your beliefs in a respectful manner just earned you a block.”201




  188
      Ex. 16, Jackson Dep. 342:5-10; 354:11-13.
  189
      Ex. 68, McKevitt Decl.
  190
      Ex. 69, Perry Decl.
  191
      Ex. 70, Hodge Decl.
  192
      Ex. 71, Hugh-Jones Decl.
  193
      Ex. 72, Perry Decl.
  194
      Ex. 73, Hurst Decl.
  195
      Ex. 66, Green Decl.
  196
      Ex. 74, Bailey Decl.
  197
      Ex. 75, Gonzalez Decl.
  198
      Ex. 69.
  199
      Ex. 16, Jackson Dep. 308:21–309:04.
  200
      Id. 308:23-25; 309:1-4; Ex. 72.
  201
      Ex. 61.
                                                  28
Case 3:23-cv-00175-DEW-KDM               Document 58-1         Filed 01/13/25       Page 29 of 49 PageID
                                              #: 1358



  The speech of other declarants was likewise fully protected political debate for which they were

  blocked.

          In sum, Defendant Jackson clearly blocked Plaintiffs Detiege and Sherman based on the

  viewpoints expressed in their speech. The blocking not only stopped them from leaving the

  offending comments, it also prevented them from “leaving any comments at all, no matter how

  short, relevant, or non-duplicative they might be.”202 Sister courts in this Circuit have held that

  Robinson v. Hunt County gave defendants in this Circuit fair warning that viewpoint

  discrimination within public comments on social media would violate the First Amendment, and

  that the law prohibiting viewpoint discrimination in public fora has been long established

  generally.203 Because Defendant Jackson blocked Plaintiffs based on the viewpoints expressed in

  their speech, her actions were plainly impermissible and in violation of Plaintiffs’ First

  Amendment rights as long established by the Supreme Court and the Fifth Circuit.

  C. Jackson was acting under color of law in blocking Plaintiffs

          After establishing that there has been a deprivation of Plaintiffs’ rights, this Court must

  determine whether that deprivation was committed by a person acting under color of state law.204

  Government officials can create social media accounts on Facebook with no comment section.

  In that case, they have not created a public forum for discussion; they are merely using social

  media to make announcements, akin to putting up a billboard. But where a government official

  chooses to open an interactive social media account such as Twitter, they are choosing to create a


  202
      Garnier v. O'Connor-Ratcliff, 41 F.4th 1158, 1182 (9th Cir. 2022) vacated sub nom.; O’Connor-
  Ratcliff v. Garnier, 601 U.S. 205 (2024).
  203
      Evans v. Herman, No. 4:22-CV-2508, 2023 WL 4188347, at *4 (S.D. Tex. Apr. 24, 2023), report and
  recommendation adopted, No. 4:22-CV-02508, 2023 WL 4188466 (S.D. Tex. June 26, 2023).
  204
      Clark v. Kolkhorst, No. 1:19-CV-198-LY, 2021 WL 5783210, at *7 (W.D. Tex. Dec. 7, 2021) (citing
  Whitley v. Hanna, 726 F.3d 631, 638 (5th Cir. 2013)); see also Siegert v. Gilley, 500 U.S. 226, 232 (1991)
  (noting that whether the plaintiff has been deprived of a right secured by the Constitution is a threshold
  inquiry in a Section 1983 claim).
                                                     29
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 30 of 49 PageID
                                               #: 1359



  public forum for public engagement, triggering First Amendment protections for the public if the

  forum is operated “under color of law.”

          The Supreme Court’s decision in Lindke v. Freed affirmed that public officials are bound

  by the First Amendment when they use social media accounts in their official capacities, and

  articulated a two-prong test for evaluating when a government official’s censorship of content on

  a social media page constitutes “state action” for the purposes of §1983.205 The Court held that a

  government official’s social-media activity constitutes state action (and is therefore subject to

  First Amendment scrutiny) when “the official (1) possessed actual authority to speak on the

  State's behalf, and (2) purported to exercise that authority when he spoke on social media.”206

          Lindke also makes clear that Senator Jackson’s Twitter account, established as

  @RepKJackson and administered by her in her official capacity as a state legislator, is state

  action if she engaged in state action on any tweet on her page. Because blocking a user on

  Twitter results in page-wide blackout, it is not simply the Plaintiffs’ specific interactions with the

  Defendant that matter to the state-action analysis. Defendant’s block of Plaintiffs closed the

  entire forum to them, making the content of her entire page relevant to determining whether there

  is state action.207

          Here, the facts show that Defendant Jackson acted under the color of law when she

  blocked Plaintiffs from viewing or interacting with her public Twitter page because she possesses




  205
      Lindke v. Freed, 601 U.S. 187, 191 (2024).
  206
      Id. at 198.
  207
      Lindke 601 U.S. at 204. (“Because blocking operated on a page-wide basis, a court would have to
  consider whether Freed had engaged in state action with respect to any post on which Lindke wished to
  comment. The bluntness of Facebook's blocking tool highlights the cost of a ‘mixed use’ social-media
  account: If page-wide blocking is the only option, a public official might be unable to prevent someone
  from commenting on his personal posts without risking liability for also preventing comments on his
  official posts. A public official who fails to keep personal posts in a clearly designated personal account
  therefore exposes himself to greater potential liability.”).
                                                       30
Case 3:23-cv-00175-DEW-KDM               Document 58-1         Filed 01/13/25       Page 31 of 49 PageID
                                              #: 1360



  authority to speak on behalf of the state (specifically, her legislative offices as an elected state

  representative and senator), and she purports to exercise that authority when she engages with

  the public on Twitter. As such, this Court should find that Defendant Jackson, acting under color

  of law, deprived Plaintiffs of their First Amendment rights by censoring their comments and

  cutting off their access to a public forum she controls, because she disagreed with the viewpoint

  of their protected speech.

          1. Defendant Jackson possessed actual authority to speak on behalf of the state

          The first prong of the Lindke test highlights the foundational requirement in a §1983

  action that the conduct that is alleged to have caused the deprivation of rights must be “fairly

  attributable” to the government.208 Action by a public official is attributable as state action when

  it can be traced back to the government’s power or authority.209 This requires an examination of

  the specific job responsibilities of a public official to determine whether the speech being

  censored is a part of the public official’s “bailiwick,” or within the “portfolio” of responsibilities

  given to the public official.210 To determine the scope of an official’s responsibilities, the Court

  looks to statutes, ordinances, and regulations.211 The Court also directed lower courts to look to

  custom and usage to determine whether a public official has been granted the power of the

  state212 because one cannot “confine the notion of ‘laws' to what is found written on the statute

  books, and to disregard the gloss which life has written upon it.”213

          As a state legislator, it is Senator Jackson’s job to set policy and law for the State of

  Louisiana. Her job responsibilities include listening to and engaging with the citizens of the


  208
      Id. at 194 (quoting Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 937 (1982)).
  209
      Id. at 198.
  210
      Id. at 199.
  211
      Id. at 200.
  212
      Id.
  213
      Adickes v. S.H. Kress & Co., 398 U.S. 144, 168 (1970).
                                                     31
Case 3:23-cv-00175-DEW-KDM                 Document 58-1          Filed 01/13/25        Page 32 of 49 PageID
                                                #: 1361



  State to draft and vote on legislation that shapes the lives of her constituents and the public. Her

  responsibilities as a legislator and prevailing custom and usage clearly support the finding that

  she has the authority so speak on behalf of her office as a state legislator. She blocked Plaintiffs

  Detiege and Sherman for critical speech related to legislation that she was sponsoring—matters

  plainly within her bailiwick as a legislator.

          a. Jackson’s role as a state legislator is to make laws and set policy for the State of

              Louisiana

          An official’s scope of power can be established through “statutes, ordinances,

  regulations, custom, or usage.”214 The written authorization of state legislators comes from the

  Louisiana Constitution, which vests the legislative power of the state in the legislature.215

  Legislative power encompasses the power to make laws, control finances of the state, review

  budgeting, and raise revenue through taxation.216 This power is exercised primarily through the

  consideration and passage of legislative instruments in regular and special sessions.217

          In addition to directly making legislation, Defendant Jackson’s role requires her to sit on

  numerous committees and task forces.218 Committee service requires legislators to review and

  debate possible bills.219 If a bill does not make it through committee, it cannot be voted on by

  the entire legislature.220 A significant duty of a committee is to take feedback and testimony

  from the public on legislation, whether through live testimony or written feedback.221 The


  214
      Lindke, 601 U.S. at 200; see United States v. Macdaniel, 32 U.S. 1, 14 (1833) (“[A government
  official] is limited in the exercise of his powers by the law; but it does not follow, that he must show [a]
  statutory provision for everything he does.”).
  215
      La. Const. Art. III, §1; Louisiana Civil Law Treatise, 20 LACIVL § 2:1.
  216
      La. Const. Arts. III and VII; Louisiana Civil Law Treatise, 20 LACIVL § 2:1.
  217
      Louisiana Civil Law Treatise, 20 LACIVL § 2:1.
  218
      Ex. 76 (interrogatory responses).
  219
      Ex. 16, Jackson Dep. 17:5-25.
  220
      Id. 29:6-10.
  221
      Id. 17:30-31.
                                                        32
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25       Page 33 of 49 PageID
                                             #: 1362



  legislative chair of a committee holds sole authority to put a bill on the committee’s agenda for

  consideration and manage testimony from members of the public.222 Even outside of legislative

  session, “interim activities of standing committees are critical to the role of the legislature…[t]he

  authority of the legislature as policymaker is exercised during the interim through the standing

  committees, essentially through studies, oversight, and presession hearing of legislation.”223

  Senator Jackson has served on numerous committees in her time as a legislator, holding powerful

  leadership positions.224 She has also held leadership positions in the Legislative Black Caucus,

  an influential caucus of Black legislators which operates to effectuate policy and advocate for

  underserved populations across our state.225

          Separately, task forces are groups of legislators who are responsible for studying specific

  policy issues and making recommendations on policy matters.226 Similar to committees, task

  forces take testimony from the public227 and listen to experts228 to “get to the bottom of

  issues.”229 They also bring forth legislative ideas and sometimes create reports, advising other

  legislators as to how to address discrete issues.230 Senator Jackson has served on many important




  222
      Ex. 16, Jackson Dep. 23:08-24:05.
  223
      The Legislator as Lawmaker—The Interim, LA. H.R. 4,
  https://house.louisiana.gov/OG1620/OG1620docs/D%20-%20The%20Interim.pdf (last visited Jan. 5,
  2025).
  224
      As senator, Defendant Jackson has served on the committees for Agriculture, Education (Vice-Chair),
  Insurance, Health and Welfare (Vice-Chair), Finance, and Joint Budget. Her house assignments included
  committees for Appropriations, Joint Legislative Budget, House Executive, Health and Welfare,
  Commerce, Judiciary (Chair), and the Committee on Agriculture, Forestry, Aquaculture and Rural
  Development. Ex. 76; Ex. 16, Jackson Dep. 15:25—17:03.
  225
      Ex. 16, Jackson Dep. 71:17-25, 72:1-11.
  226
      Id. 69:5-23.
  227
      Id. 65:17.
  228
      Id. 71:4-5.
  229
      Id, 249:10-14.
  230
      Id. 69:04-70:06.
                                                    33
Case 3:23-cv-00175-DEW-KDM                Document 58-1           Filed 01/13/25       Page 34 of 49 PageID
                                               #: 1363



  legislative task forces and select committees.231 Among her service, Jackson serves on the select

  committee on Woman & Children, which hears testimony in the interim of session on issues

  pertaining to women and children.232

          Defendant Jackson’s responsibility as a legislator includes enacting laws and advocating

  for policies for the State of Louisiana. She does this through proposing legislation, voting on

  legislation, serving on task forces, serving on committees, receiving public input, public

  education, and myriad other acts. Senator Jackson’s job responsibilities require her to make

  policy decisions affecting the entire State, not simply her district.233




  231
      Defendant Jackson’s task force assignments have included Task Force on Affordable Automobile
  Insurance, Governor’s Advisory and Review Commission on Assistant District Attorneys (Ex-officio
  member and Chairman); Advisory Council on Historically Black Colleges and Universities; Louisiana
  Law Enforcement Body Camera Implementation Task Force; Continuous Learning Task Force; Delta
  Economic Research and Sustainability District; Louisiana Emergency Response Network Board;
  Empowering Families to Live Well Louisiana Council; Industrial Hemp Promotion and Research
  Advisory Board; Joint Legislative Committee on Technology and Cybersecurity; Joint Legislative
  Committee on the Budget; Louisiana Commission on Justice System Funding (Chair); Louisiana Juvenile
  Jurisdiction Planning and Implementation Committee; Juvenile Justice Reform Act Implementation
  Commission (Chair); Lake Providence Watershed Council; Louisiana State Law Institute (Chair);
  Louisiana School for Math, Science, and the Arts; Governor’s Advisory Council on Rural Revitalization
  (Chair); Senate Select Committee on State Police; Senate Select Committee on Women and Children;
  Task Force on Tenure in Public Postsecondary Education (designee of Chairman of Senate Committee on
  Education); Louisiana Women’s Incarceration Task Force (designee of President of the Senate); and Work
  Force Training and Education Initiative Advisory Board (Chair). Ex. 76.
  232
      Ex. 16, Jackson Dep. 38:23-25; 63:01-11.
  233
      The Defendant testified that she sponsors and votes on legislation that has statewide impact. Ex. 56
  (RFA no. 4); Ex. 16, Jackson Dep. 79:21—80:09. The Senator also consults with a number of
  organizations outside of her district, working with citizens and interest groups across the state, such as the
  Pharmacy Association, the Teachers Association, Sheriffs Association, students from Xavier University of
  New Orleans, CASA (Court Appointed Special Advocates for Children) New Orleans, and VOTE, among
  others. These interactions highlight the statewide nature of being a legislator, as Defendant Jackson
  testified that much of the legislation she has sponsored has a statewide effect. Ex. 16, Jackson Dep.
  101:10-21,102, 100:2-25; Ex. 16, Jackson Dep. 79:21-24. She likewise takes speaking engagements
  outside of her district and her state. Ex. 16, Jackson Dep. 81:19—82:09, 84:18—85:10 and Ex. 76 at 7 et
  seq. She testified that she works in support of legislation outside of her district where it is something she
  believes in. Ex. 16, Jackson Dep. 86:04-09. She may be tagged by other legislators on social media if
  they are working on a bill together. Ex. 16, Jackson Dep. 126:25—127:07.
                                                       34
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 35 of 49 PageID
                                               #: 1364



          b. Communicating to and with the public on policy matters is within the scope of

              Defendant Jackson’s job

          Defendant Jackson is a high-ranking government official whose job implicitly contains

  the responsibility of speaking on legislative matters and for her elected office, and who also

  therefore has authority to censor for her office.234 As Lindke envisioned, in some cases the

  general grant of authority of authority to a high ranking official obviously encompasses a grant

  of authority to speak about those acts officially.235 This is such a case. The grant of authority to

  Senator Jackson to represent the population and vote on legislative matters obviously

  encompasses a grant of authority to speak about those acts officially. Making announcements

  about legislative matters and receiving public input is “actually part of the job”236 that Defendant

  Jackson has been entrusted to do. This is borne out by the textual authority creating the position,

  Jackson’s own testimony, custom and usage, and Jackson’s actions in censoring Plaintiffs.

          First, Senator Jackson’s job as a legislator explicitly requires her to serve and respond to

  the people of Louisiana. The preamble to the State Constitution, which creates her position,

  provides that its intention, through the will of “the people,” is “to maintain a representative and

  orderly government.”237 In Louisiana, “all government, of right, originates with the people, is

  founded on their will alone, and is instituted to protect the rights of the individual and for the

  good of the whole. Its only legitimate ends are to secure justice for all, preserve peace, protect

  the rights, and promote the happiness and general welfare of the people.”238 The Louisiana



  234
      Lindke at 197 (explaining that in the context of social media use, speaking with official authority
  encompasses censoring other speech via deleting comments and blocking).
  235
      Id. at 200 (“In some cases, a grant of authority over particular subject matter may reasonably
  encompass authority to speak about it officially.”).
  236
      Id. at 201.
  237
      La. Const. Preamble, Ann. Refs & Annos.
  238
      La. Const. Art. I § 1.
                                                       35
Case 3:23-cv-00175-DEW-KDM               Document 58-1          Filed 01/13/25       Page 36 of 49 PageID
                                              #: 1365



  Constitution recognizes the public interest in how each legislator votes, requiring votes to be

  publicly recorded and published.239 The Fifth Circuit has recognized that legislative duties are

  “not confined to those directly mentioned by statute or the Constitution” but include duties

  related to the “primary obligation” to serve and respond to their constituents, as well as the

  public at large, of issues being considered by their legislative body.240 The duties of elected

  representatives extend beyond “participating in debates and voting.”241

          Defendant Jackson agrees. She testified that her duties include informing and engaging

  with the public,242 and receiving input from the public.243 Indeed, communicating with members

  of the public about policy is a large part of her job as a legislator.244 Defendant Jackson testified

  that she tries to keep the public informed about legislation because “the public has a right to

  know, especially my district, what I’m doing in Baton Rouge.”245 She testified that her

  responsibility as a state senator is to “[s]erve the people of your district first. You serve other

  people next.”246 Jackson’s testimony cements that state legislators have the actual authority to

  speak on behalf of their offices to the public textually and through custom and usage.

          In assessing whether an official has a state authority by virtue of custom or usage, courts

  consider all relevant facts, including information about an official’s job duties, the way she

  executes those duties, and her predecessor’s practices.247 Defendant Jackson’s and other



  239
      La. Const. Arts. III §10.
  240
      Williams v. United States, 71 F.3d 502, 507 (5th Cir. 1995).
  241
      Id.
  242
      Ex. 16, Jackson Dep. 86:10-12.
  243
      Id. 92:18-20.
  244
      Id. 92:11-20, 104:6-12, 97:10-17, 101:5-21, 105:1-20; Ex. 77 (tweeting that must listen to public to
  determine public will).
  245
      Ex. 16, Jackson Dep. 104:10-12.
  246
      Id. 34:18-19.
  247
      Navarro v. Block, 72 F.3d 712, 715 (9th Cir. 1995) (holding in municipal liability case that emergency
  dispatcher’s testimony about current practices of Sheriff’s Department in classifying 911 calls could
  establish custom).
                                                      36
Case 3:23-cv-00175-DEW-KDM               Document 58-1        Filed 01/13/25      Page 37 of 49 PageID
                                              #: 1366



  legislative officials’ usage of Twitter show that she possesses actual authority to act under color

  of state law in this domain. Defendant Jackson herself has spoken publicly about the import of

  Twitter and social media in her work. In 2016, she explained how the real-time feedback of

  social media makes her a more responsive representative.248 She testified at deposition that she

  checks Twitter during committee meetings249 and there are many examples of her tweeting from

  the senate floor.250 Indeed, Twitter may be the only conduit to a legislator at such times; Jackson

  testified she did not accept phone calls from the public during those same meetings.251 For

  example, in March of 2014, during legislative session, Twitter user @ostrichVcamel tweeted at

  “@RepKJackson we're at LA Capitol and we want talk to you about HB 388. Please pull this

  bill. #roeingbackward #backdoorban #TRAPLA[.]”252 In less than ten minutes, Defendant

  Jackson tweeted back, giving them a time and a place to meet her on the floor to discuss the

  bill.253

             Defendant Jackson’s customary use of Twitter to do her job is consistent with its use by

  other elected officials who use Twitter as a communicative tool for their elected office.254 The

  Supreme Court noted in 2017 that “Governors in all 50 States and almost every Member of

  Congress have set up [Twitter] accounts” so that “users can petition their elected representatives

  and otherwise engage with them in a direct manner.”255 Reporting documenting Twitter use in

  the Louisiana Legislature noted that “Democrat and Republican legislators also use the popular


  248
      Richards, supra note 132.
  249
      Ex. 16, Jackson Dep. 171:21-25.
  250
      Exs. 5, 19, 78, 79, 80, 81, 82.
  251
      Ex. 16, Jackson Dep. 172:1-3.
  252
      Ex. 83.
  253
      Id.
  254
      Kat Devlin et al., For Global Legislators on Twitter, an Engaged Minority Creates Outsize Share of
  Content, PEW RESEARCH CENTER (May 18, 2020) https://www.pewresearch.org/global/2020/05/18/for-
  global-legislators-on-twitter-an-engaged-minority-creates-outsize-share-of-content/; Ex. 18.
  255
      Packingham, 582 U.S. at 105.
                                                     37
Case 3:23-cv-00175-DEW-KDM              Document 58-1         Filed 01/13/25      Page 38 of 49 PageID
                                             #: 1367



  social media network to check the pulse of influential lobbyists, and visa-versa.”256 The official

  website for the Louisiana legislature confirms that “technology and the media have opened the

  legislative process to a wider access by the public.”257 The U.S. House of Representatives Press

  Gallery website shows that all 435 representatives have a Twitter account.258 Prevailing custom

  and usage demonstrates an understanding, from constituents to the Supreme Court, that

  legislators utilize Twitter to carry out their official duties, including informing members of the

  public and receiving information and feedback.

         Finally, the Supreme Court in Lindke emphasized that there is likely actual authority to

  speak on behalf of the state where a public official censors an individual in connection with a

  matter within the official’s “bailiwick,” or portfolio of authority.259 Defendant Jackson’s

  portfolio of authority as a legislator certainly includes drafting and voting on legislation. Her

  own testimony confirms that engaging with the public on legislation is a significant part of her

  job as a legislator.260 Both Plaintiffs were blocked after criticizing Defendant Jackson’s

  legislation.261 Plaintiffs were using Twitter precisely as protected by the Supreme Court: to

  “engage… in a direct manner,”262 on the Senator’s own proposed legislation—the action most

  squarely within the Senator’s bailiwick.263 Jackson frequently posts about bills on Twitter.264




  256
      Richards, supra note 132.
  257
      Id.
  258
      Members’ Official X Handles – 118th Congress, U.S. HOUSE OF REPRESENTATIVES PRESS GALLERY,
  https://pressgallery.house.gov/member-data/members-official-twitter-handles (June 27, 2024).
  259
      Lindke, 601 U.S. at 199.
  260
      Ex. 16, Jackson Dep. 86:10-12, 92:18-20, 92:11-20, 104:6-12, 97:10-17, 101:5-21, 105:1-20, 104:10-
  11, 34:18-19.
  261
      Exs. 23, 44.
  262
      Packingham, 582 U.S. at 104-05.
  263
      La. Const. Art. III, §1.
  264
      Ex. 16, Jackson Dep. 104, 105; 117:20-22; see, e.g., Ex. 9; Ex. 25; Ex. 35 (soliciting thoughts on
  legalizing marijuana) Ex. 57 (“We would love to hear from you…Contact us.”); Ex. 54 (“Thoughts on
  Jindal retirement package.”); Ex. 37 (“Listening to pharmacist bill. Let me know your thoughts.”).
                                                    38
Case 3:23-cv-00175-DEW-KDM             Document 58-1         Filed 01/13/25      Page 39 of 49 PageID
                                            #: 1368



  She advocates for pro-life legislation as a major component of her work.265 She blocked Plaintiff

  Detiege in a conversation about Jackson’s own proposed anti-abortion legislation.266 She

  blocked Plaintiff Sherman after a conversation about Jackson’s own proposed legislation also.267

  The Plaintiffs’ speech could not be more connected to the Senator’s actual sphere of authority,

  which is further evidence that Jackson’s blocking was under color of law.

         In sum, when evaluating actual authority to speak for the state, the Court instructs us to

  examine the authority to speak on behalf of the official’s government office generally.268 For

  example, in Lindke, if a city manager had authority to speak on behalf of the city for his office,

  he may have the authority to do so on social media, even if not explicitly authorized by law or

  statute.269 Defendant Jackson is a high-ranking legislative official, tasked with authoring,

  vetting, and voting on policy that affects the lives of all Louisiana citizens. Her authority as a

  state legislator clearly encompasses communicating with members of the public about matters

  related to the duties of her office, and specifically her legislation. The nature of the Defendant’s

  position, the language of the Louisiana Constitution, the testimony of Defendant Jackson, the

  prevailing custom and usage, and the fact that Defendant Jackson censored Plaintiffs’ speech on

  bills that she herself had authored all support finding that the Senator possessed actual authority

  to speak in her official capacity and within her bailiwick as a state legislator responsible for

  setting policy for the government.

         2. Defendant Jackson purports to exercise her authority on social media



  265
      Ex. 16, Jackson Dep. 85-86; Ex. 33.
  266
      Ex. 16, Jackson Dep. 382-383; Ex. 33; Ex. 24; Ex. 42; Ex. 44; Ex. 45; SB342 by Senator Katrina
  Jackson-Andrews, LOUISIANA STATE LEGISLATURE, https://legis.la.gov/legis/BillInfo.aspx?i=242567 (last
  visited Jan 4, 2025).
  267
      Ex. 39, Sherman Decl.
  268
      Lindke, 601 U.S. at 200.
  269
      Id.
                                                   39
Case 3:23-cv-00175-DEW-KDM                Document 58-1       Filed 01/13/25     Page 40 of 49 PageID
                                               #: 1369



          After establishing that Defendant Jackson possessed actual authority to engage in official

  speech, the Court instructs us to examine whether Defendant Jackson purported to act in her

  official capacity when using Twitter.270 “State officials have a choice about the capacity in which

  they choose to speak.”271 That public employee “purports to exercise official authority when

  speaking ‘in [her ]official capacity or’ when [she] uses [her] speech to fulfill ‘[her]

  responsibilities pursuant to state law.’”272 Here the Senator did both.

          The Lindke Court identified a number of factors that can be examined to determine

  whether a public official is purporting to exercise his government power. These factors include

  the context of the speech, the content and function of the speech, and the use of government

  resources. The Court also instructed the lower courts to consider the nature of the technology at

  issue in the case.273 All of these factors confirm that Defendant Jackson’s actions meet the

  second prong of the Lindke state action test.

          a. The context of Defendant Jackson’s Twitter page shows that she was using it in

              her official capacity

          First, the Court must look to the context of the social media account. “Context can make

  clear that a social media account purports to speak for the government.”274 Labels (such as

  “personal page”) or disclaimers (“all opinions are my own”) help to create a presumption that a

  page is official or personal.275 Defendant Jackson has no such label.276 Instead, her account

  bears the trappings of her official state work. The photos and graphics she tweets to her many



  270
      Id. at 191
  271
      Id. at 201.
  272
      Id. (quoting West v. Atkins, 487 U.S. 42, 50 (1988)).
  273
      Id. at 203-04.
  274
      Id. at 202.
  275
      Id.
  276
      Ex. 38.
                                                       40
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 41 of 49 PageID
                                               #: 1370



  followers, her history of Twitter usernames, and the fact that she links to her legislative website,

  all cloak her Twitter page in the authority of her legislative office.

          Many of Defendant Jackson’s tweets include graphics or photos that explicitly designate

  her as a legislative official.277 For example, she has used official photos of herself from the

  legislative gallery on her home page, and her Twitter cover photo is a “qualifying photo” from

  the day she qualified for public office.278 In fact, at the time she blocked both Plaintiffs, she used

  her official legislative headshot as her Twitter profile photo.279 Since her election to the state

  senate, Defendant Jackson has consistently posted graphics that identify her as senator for her

  district, include her official senate photos, and convey information about bills and happenings in

  the legislature to her followers. She has repeatedly tweeted official press releases from her

  legislative office and includes her contact information and senate email address on social

  media.280 Many of her graphics proclaim they are “From the Office of Senator Jackson,” even

  when she tweets about Mother’s Day.281 She includes these graphics on tweets announcing bills,

  committee hearings, and other legislative information related to her committees and positions.

  Part of Defendant Jackson’s job as a legislator is to engage with the public about her legislation

  and the legislation discussed by the committees she sits on. When she does so via Twitter and




  277
      Exs. 10, 11, 15, 25, 31, 84 (tweeting her legislative photo), 85 (calling to slow down special session to
  allow citizen participation).
  278
      Ex. 38, Ex. 16, Jackson Dep. 182:4-15.
  279
      See Ex. 39, Sherman Decl.; Ex. 40, Detiege Decl.; see also Katrina R. Jackson-Andrews, LOUISIANA
  STATE SENATE https://senate.la.gov/smembers?ID=34 [https://perma.cc/4ERN-BXBT] (last visited Jan 4,
  2025).
  280
      Ex. 16, Jackson Dep. 224:05-225:20; Exs. 15, 60, 25, 36.
  281
      Ex. 34 (from the desk of Senator Jackson, police oversight); Ex. 86 (Happy Mother’s Day from
  Senator Jackson); Ex. 87 (from the desk of Senator Jackson, register to vote); Ex. 88 (from the desk of
  Senator Jackson, amber alerts); Ex. 89 (from the desk of Senator, BESE information); Ex. 90 (tweeting
  position on trans sports bill). .
                                                       41
Case 3:23-cv-00175-DEW-KDM               Document 58-1       Filed 01/13/25      Page 42 of 49 PageID
                                              #: 1371



  attaches a graphic that says, “From the Office of Senator Jackson,” she is clearly purporting to

  exercise her authority as a legislator.

          At no time has Defendant Jackson’s Twitter been set to “private”—meaning only

  viewable by an approved group of followers—or labelled a “personal page.”282 In fact, when

  Jackson first posted on Twitter back in 2012, shortly after being elected as a state representative

  for the first time, her Twitter handle/username on the platform was @RepKJackson, a direct

  reference to her legislative office.283 That was the then-Representative Jackson’s Twitter handle

  when she engaged with plaintiff Dayne Sherman regarding bills she had filed and supported,

  ultimately leading to his blocking from her page.284 After being elected to the state senate,

  Defendant Jackson changed her name to @SenatorKRJ, and later to @KatrinaJack_Sen,285

  which the Senator said was a play on her last name, Jackson, and the fact that she was a state

  senator.286 Defendant Jackson changed her handle to her current one, @KatrinaRJackson, in

  2021, nine years into having her governmental office as her handle,287 and with a long history of

  constant posts about legislative happenings and updates. Despite dropping her title from her

  Twitter handle, Sen. Jackson’s page does not state anywhere that it is her personal page.288

          Defendant Jackson’s Twitter page links to her official website katrinarjackson.com,289

  which is used for her senate work and includes a gallery of photos of her working on the floor.290

  This website provides her legislative platform as well as a link to sign up for the official




  282
      Ex. 56 at 3.
  283
      Ex. 1 at 3-4 (Bogen report).
  284
      Id. (expert report).
  285
      Id. (expert report); Ex. 16 Jackson depo 151:11-19
  286
      Ex. 16, Jackson Dep. 151:16-18.
  287
      Ex. 1 at 3-4 (Bogen report)
  288
      Ex. 38; Lindke, 601 U.S. at 202.
  289
      Ex. 16, Jackson Dep. 187:22-24, 188:18-19.
  290
      Ex. 16, Jackson Dep. 187: 22-25—189.
                                                      42
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 43 of 49 PageID
                                               #: 1372



  newsletter from her legislative office.291 Linking to her official website from a social media page

  also weighs in favor of finding that an official is purporting to use authority. In sum, the context

  of Defendant Jackson’s social media page shows that she is engaged in official speech and using

  Twitter as an instrumentality of her office.

          b. The appearance and function of Defendant Jackson’s Twitter page show that she

              uses it in her official capacity.

          The official nature of Defendant Jackson’s activity on Twitter is also apparent in looking

  at the content and function of her tweets. As examined above, as a legislator Defendant Jackson

  is responsible for formulating policies and enacting law. Defendant Jackson utilizes Twitter to

  execute her duties. She tweets about bills, both ones that she authored and others she is

  considering.292 She tweets about a wide variety of matters as she is making law, including

  school prayer,293 abortion,294 the Taylor Opportunity Program for Students (TOPS),295 marijuana

  legalization,296 and others. She has directly instructed the public to use Twitter to “stay in

  contact” with her during session.297 Many of Jackson’s tweets include graphics explaining the

  bills or her positions on the legislation, which she also shares.298 In addition to tweeting about

  specific legislation, she also tweets about legislative activities, such as announcing committee

  meetings and opportunities for public comment.299 She testified that when she includes “Senator




  291
      Ex. 91 (Senator’s official website); Ex. 92 (Senator’s platform on website).
  292
      See, e.g., Ex. 3; Ex. 8; Ex. 13; Ex. 15, Ex. 57.
  293
      Ex. 23.
  294
      Ex. 33, 24, 43.
  295
      Ex. 26, 27, 93.
  296
      Ex. 19, 35.
  297
      Ex. 17 (encouraging people to stay in touch via Twitter); Ex. 18 (“Tune in!! I will provide the link in
  the comments at 9!!!!”).
  298
      Exs. 24, 33, 31, 35.
  299
      Ex. 16, Jackson Dep. 121:02-16; 217:17—218:02; 221:24—222:04; Exs. 15, 25, 30, 31, 34, 57, 26.
                                                       43
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25        Page 44 of 49 PageID
                                               #: 1373



  Katrina R. Jackson” on a tweet, she is staking out a legislative position and showing it to the

  public.300

          Defendant Jackson also utilizes Twitter to solicit feedback from the public to inform how

  she will vote on particular issues.301 While she sometimes asks residents of her district to weigh

  in on an issue, she also often seeks feedback from the public generally.302 She seeks public input

  to hear how citizens may be affected by legislation broadly, to determine her view of the best

  policy for the state and the residents thereof.303 For example, in a tweet on February 23, 2022,

  she tweeted for the public to “Send your bill ideas” and listed her contact information.304 The

  Senator has also withdrawn bills based upon feedback she received on Twitter. For example, in

  April 2024, after submitting a bill that would have required TOPS participants to pay back parts

  of the scholarship if they left the state within three years of graduation, the Senator received lots

  of feedback on her Twitter.305 After engaging with Twitter users about the substance of the bill,

  Defendant Jackson tweeted that she had decided to withdraw the bill and stated that she intended

  to file a resolution to hear testimony from “everyone” regarding potential changes to the

  program.306 Defendant Jackson tweets to inform others of her opinion on legislation, and to

  influence others to take action along with her. For example, Defendant Jackson has also

  frequently encouraged users to contact their legislators to vote with her position, including on a

  variety of healthcare and public-education related bills.307 She also has referred users on social


  300
      Ex. 16, Jackson Dep. 382:21-25, 383:1-7.
  301
      Id. 105:1-5; Exs. 60, 35, 36, 57, 58, 37.
  302
      Exs. 24, 52, 58, 59, 94 (pondering thoughts re vote with residents outside of her district).
  303
      Ex. 16, Jackson Dep., 97:10-19.
  304
      Ex. 31.
  305
      Exs. 26, 27, 93.
  306
      Ex. 27.
  307
      Ex. 95 (asking public to “get on the phone and call their legislators” re hospital privatization); Ex. 96
  (announcing MFP rejected, asking public to call legislators); Ex. 97 (encouraging people in other parts of


                                                       44
Case 3:23-cv-00175-DEW-KDM                 Document 58-1           Filed 01/13/25        Page 45 of 49 PageID
                                                #: 1374



  media to contact her Senate office, using Twitter as a conduit to her legislative staff.308 The

  function and content of her tweets demonstrate that the Defendant uses Twitter in her official

  capacity.

          c. Senator Jackson’s use of government resources to Tweet show she uses the

              account in her official capacity.

          The Supreme Court held that “an official who uses government staff to make a post will

  be hard pressed to deny that he was conducting government business.”309 Defendant Jackson

  does just that—utilizing legislative staff to create content for her social media posts.310 As

  explained above, Defendant Jackson often tweets out graphics related to her legislation and

  committees. She testified in her deposition that while “sometimes I prepare my own graphics,”

  others sometimes create them for her, including her legislative staffers and members of a State

  Office at the Capitol, whose names she could not recall.311 The Louisiana Legislative

  Communications Office (LCO) is a dedicated office of staffers who provide members of the

  Louisiana Legislature with a number of communications-related services, including the creation

  of graphics, some of which were created for Defendant Jackson and then shared to her Twitter

  page.312 She also testified that her State-paid legislative aide, Terisa Tran, has aided her in

  making graphics that she then posts to Twitter.313 Additionally, she uses her government-issued,


  the state to contact their senators re upcoming vote); Ex. 98 (asking people across Louisiana to call their
  legislators to vote no on legislation); Ex. 99 (calling for contact to legislators re pending legislation); Ex.
  3 at 9 (calling for contact of state reps re budget cuts); Ex. 3 at 11 (calling for contact with
  representatives to vote no on bill).
  308
      Ex. 16, Jackson Dep. 89:03-04, 165:08-166:19, 239:25-240:18; Exs. 9, 13, 15, 24, 31, 33, 34, 36, 57;
  60.
  309
      Lindke 601 U.S. at 203.
  310
      Ex. 16, Jackson Dep. 158:19-25, 159:1-14. 168:11-15.
  311
      Id, 158, 159:1-14; 168.
  312
      Id. 203:13-25; Louisiana State Senate, Legislative Communications Office, Member Services,
  https://lco.legis.la.gov/services (last visited Jan. 6, 2025).
  313
      Ex. 16, Jackson Dep. 169:13-15
                                                        45
Case 3:23-cv-00175-DEW-KDM               Document 58-1          Filed 01/13/25       Page 46 of 49 PageID
                                              #: 1375



  legislative office desktop and laptop to use Twitter,314 demonstrating a further usage of state

  resources on her Twitter. Because she uses government staff and taxpayer resources to tweet,

  Defendant Jackson cannot now deny that she was conducting government business in the use of

  her Twitter account.

          d. The nature of Twitter cements state action in this case

          Finally, the Supreme Court noted that the “blunt” nature of Twitter blocking in this case

  militates toward a finding of state action if any post on the Defendant Jackson’s Twitter feed is

  official.315 The Lindke Court contrasted two potential censorious actions on social media: (1) the

  deletion of the plaintiff’s comments from a specific social media post versus (2) the blocking of

  the plaintiff from the entire social media page.316 The Court explained that in the former deletion

  example, the only post relevant to determining state action would be the post from which the

  plaintiff’s comments were removed.317 The Court contrasted this with a page-wide blocking

  such as that at issue here, finding that where blocking prevents access to a page in its entirety, “a

  court would have to consider whether [the public official] had engaged in state action with

  respect to any post.”318 This is because, where a government official uses a social media account

  to conduct any government business, a page-wide blocking deprives the blocked user of all


  314
      Ex. 16, Jackson Dep. 131:15—132:17
  315
      Lindke 601 U.S. at 204.
  316
      Id.
  317
      “One last point: The nature of the technology matters to the state-action analysis. Freed performed two
  actions to which Lindke objected: He deleted Lindke's comments and blocked him from commenting
  again. So far as deletion goes, the only relevant posts are those from which Lindke's comments were
  removed. Blocking, however, is a different story. Because blocking operated on a page-wide basis, a court
  would have to consider whether Freed had engaged in state action with respect to any post on which
  Lindke wished to comment. The bluntness of Facebook's blocking tool highlights the cost of a “mixed
  use” social-media account: If page-wide blocking is the only option, a public official might be unable to
  prevent someone from commenting on his personal posts without risking liability for also preventing
  comments on his official posts. A public official who fails to keep personal posts in a clearly designated
  personal account therefore exposes himself to greater potential liability.” Id.
  318
      Id. (emphasis added)
                                                      46
Case 3:23-cv-00175-DEW-KDM                Document 58-1          Filed 01/13/25       Page 47 of 49 PageID
                                               #: 1376



  access to any information or contact whatsoever.319 When a Twitter user "blocks” another user’s

  access to their profile, the blocked user is prevented from engaging with the blocking user or

  viewing the blocking user’s tweets.320 When a Twitter user is blocked, they are no longer able to

  see, or reply to the blocking user’s tweets, retweet the blocking user’s tweets, view the blocking

  user’s list of followers or followed accounts, or use the Twitter platform to search for the

  blocking user’s tweets.321

          Defendant Jackson blocked both Plaintiffs from viewing her entire Twitter page—this

  means they could not view or interact with any of her thousands of tweets.322 While some posts

  on Defendant Jackson’s public Twitter are personal in nature, the overwhelming majority of her

  tweets are in her capacity as a legislator. If even one of those Tweets was official state action,

  the site-wide nature of the blocking creates state action regardless of the specific context of

  Plaintiffs’ blockings.323 It is noteworthy that the Senator’s Twitter feed is the only place that

  Louisianians can see some information; she does not “cross-post” every Tweet to other locations,

  including numerous original posts on a variety of legislative issues.324 In fact, some of the Tweets

  made by Jackson in which she was most clearly engaged in state action and conducting senate



  319
      Id.
  320
      One Wis. Now v. Kremer, 354 F. Supp. 3d 940, 946 (W.D. Wis. Jan. 18, 2019)(internal citations
  omitted); About Being Blocked, X HELP CENTER, https://help.twitter.com/en/using-twitter/someone-
  blocked-me-on-twitter#:~:text=About%20being%20blocked,-
  Twitter%20gives%20people&text=If%20you%20have%20been%20blocked,alerting%20you%20of%20th
  e%20block (last visited Jan. 5, 2025).
  321
      Id.
  322
      Ex. 39, Sherman Decl.; Ex. 40, Detiege Decl.
  323
      Respectfully, this ruling is contrary to the Magistrate Judge’s ruling in this case on Plaintiffs’ second
  motion to compel. The Magistrate Judge indicated that she believed the only salient time periods in this
  case to be the dates on which Sherman and Detiege were blocked. R. Doc. 45, p. 12. Lindke explains that
  this cabining of the facts is incorrect.
  324
      See, e.g., Exs. 2, 18, 28, 30, 35, 36, 88, 89, 100, 101, 102, 103, 104, 105, 106 (explaining bill and
  providing link to bill to user), 107 (inviting users to weekly session talk). Because these posts containing
  legislative information are not available anywhere else, Plaintiffs and other individuals who have been
  blocked from the Senator’s Twitter page lose access to the information.
                                                       47
Case 3:23-cv-00175-DEW-KDM                    Document 58-1        Filed 01/13/25   Page 48 of 49 PageID
                                                   #: 1377



  business— soliciting public input on proposed legislation— were only posted on Twitter, not her

  Facebook account.325 Given the page-wide nature of the blocking function on Twitter, users

  blocked by Defendant Jackson miss out on valuable information and opportunities to have their

  voices heard by legislators, which is in direct contradiction to the values of the First Amendment.

             It also makes her blocking of any Twitter user unquestionably state action. In sum, as

  cataloged extensively above, Jackson purported to use her state authority by speaking in her

  official capacity and by using her speech to fulfill responsibilities pursuant to state law. She

  engaged in state action, making her censorious conduct subject to accountability under 42 U.S.C.

  § 1983.


                                                   VII.      Conclusion

             For the reasons above, there is no genuine dispute as to any material fact, and Plaintiffs

  are entitled to judgment as a matter of law. The undisputed evidence demonstrates that Plaintiffs

  were engaged in protected First Amendment speech when Defendant Jackson blocked them,

  effectively censoring their speech and cutting off access to a public forum. The facts show that

  Defendant Jackson was cloaked in the state’s authority and purported to use it when she blocked

  Mr. Sherman, Ms. Detiege, and many others over disagreements on her public Twitter page,

  which she routinely used to conduct her duties as a state legislator. As such, Plaintiffs

  respectfully ask this Court to grant Plaintiffs’ Motion for Summary Judgment on all claims.




  325
        Exs. 35 (input on marijuana), 36 (call for bills).
                                                             48
Case 3:23-cv-00175-DEW-KDM   Document 58-1    Filed 01/13/25        Page 49 of 49 PageID
                                  #: 1378



                                          Respectfully submitted,


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                                     49
